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8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                 IN AND FOR LOS ANGELES COUNTY
 9
     RAMONA GIBSON; DOLLETHEA FOX;                     Case No.           BC 6 8 6 6 1 6
10   PHYLLIS DUPREE; JENNIFER W.
     EDWARDS; GEORGETTE ENWRIGHT;                      COMPLAINT AND DEMAND FOR
11
     CAROLYN K. ESTES; ERMA
12   FARRINGTON; MARY FAULKNER;                        JURY TRIAL
     MARTHA A. FOSTER; AUDREY FRIDIA;
13                                                1.   Negligence
     LINDA FULLMORE; MIKKI GARZA;
     JEANNIE GERBER; PAMELA GERVIN;               2.   Strict Liability — Failure to Warn
14
     VERTHAVIA GIBBS; PHYLLIS M. GILL;            3.   Intentional Misrepresentation
15   SHANNA GIVENS; SALLIE R. GORE;               4.   Concealment
     SHELBY GRANT; AMELIA GREEN;                  5.   Negligent Misrepresentation
16                                                     Intentional Infliction of Emotional
     ROBYN GREER; CHARLOTTE GUNN;                 6.
17   TANYA GURNEY; DORCILLE HADLEY;                    Distress
     GLENDA HAMNER; BEVERLY                       7.   Loss of Consortium
18   HARCOURT; BETTY HAWKINS;
     NANCY HEARNE; ADELFA HEVENER;
19
     MOVELL HOLLOWAY; BENDETTA
20   HOSNEY; ANNIE L. JACKSON; PEGGY
     JACKSON; WANDA JACKSON; ANITA
21   JACOBS; ARLENE JEFFERSON
22   THROWER; CASSANDRA JOHNSON;
     TANYA JOHNSON; DEBORAH JOLLA;
23   LILLIE JONES; CLEDELL KEMP; MARIE
     LACKEY; ANGELA ANITA LAMB;
24   GWEN LANCE; RACINE LESTER;
25   SHAUNTEL MAXWELL; FELICIA
     MCCLINTON; BRITTANY J. MEECE;
26   KIMBERLY MENDOZA; AND
     DEBORAH MEYERS,
27
28                                  Plaintiffs,



                               COMPLAINT AND DEMAND FOR JURY TRIAL

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                 V.
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2    SANOFI U.S. SERVICES INC., formerly
     known as SANOFI-AVENTIS U.S. INC,
3    SANOFI-AVENTIS U.S. LLC, separately
 4   and doing business as WINTHROP U.S.,
     SANDOZ, INC., McKESSON
 5   CORPORATION doing business as
     McKESSON PACKAGING, HOSPIRA,
 6   INC., HOSPIRA WORLDWIDE, LLC f/k/a
 7   HOSPIRA WORLDWIDE, INC., SANDOZ,
     INC., and ACCORD HEALTHCARE, INC.,
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           Defendants.
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 2          All plaintiffs who are residents of California respectfully submit the following Complaint
 3   and Jury Demand against all Defendants, including SANOFI U.S. SERVICES INC., formerly
 4   known as SANOFI-AVENTIS U.S. INC, SANOFI-AVENTIS U.S. LLC, separately and doing
 5   business as WINTHROP U.S., SANDOZ, INC., McKESSON CORPORATION doing business
 6   as McKESSON PACKAGING, HOSPIRA, INC., HOSPIRA WORLDWIDE, LLC f/k/a
 7   HOSPIRA WORLDWIDE, INC., SANDOZ, INC., and ACCORD HEALTHCARE, INC.,
 8   (herein collectively referred to as the "Defendants") , and allege the following upon personal
 9   knowledge, information, belief, and investigation of counsel.
10          All plaintiffs who are residents outside of California respectfully submit the following
11   Complaint and Jury Demand against Defendants McKESSON CORPORATION doing business
12   as McKESSON PACKAGING, .only, and allege the following upon personal knowledge,
13   information, belief, and investigation of counsel.
14                                      NATURE OF THE CASE
15          1.      Plaintiffs are breast cancer survivors who were prescribed and injected with
16   TAXOTERE® (docetaxel), a drug used in chemotherapy that is developed, manufactured, and
17   distributed by Defendants. Although lower potency alternatives have been available for years,
18   Defendants misleadingly promoted TAXOTERE® as having superior efficacy based on self-
19   sponsored clinical trials, even though the FDA called these claims "unsubstantiated." In fact,
20   TAXOTERE®'s increased potency only makes it more toxic than alternatives and causes more
21   severe side effects, including a significantly increased risk of disfiguring permanent hair loss.
22   Although temporary hair loss is a common side effect related to chemotherapy, TAXOTERE®'s
23   risk of permanent hair loss is not. Defendants concealed this information from physicians,
24   healthcare providers, and patients, causing Plaintiffs and tens of thousands of women to suffer
25   permanent hair loss without any additional benefit or warning.
26          2.      As a direct and proximate result of Defendants' wrongful conduct, Plaintiffs
27   suffered serious and permanent physical and emotional injuries, including permanent hair loss,
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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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     and seek damages relating to Defendants' distribution, labeling, advertising, marketing,
     manufacturing, promotion, and sale of TAXOTERE®.


                                      JURISDICTION AND VENUE
            3.      This Court has jurisdiction over this action pursuant to Article 6, §10 of the
     California Constitution and California Code of Civil Procedure § 410.10. The amount in
     controversy exceeds the jurisdictional limit of $25,000.
             4.     This Court has personal jurisdiction over Defendants, each of which is licensed to
     conduct or is systematically and continuously conducting business in the State of California,
     including, but not limited to, the marketing, advertising, selling, and distributing of drugs,
     including TAXOTERE®, to the residents in this state. Defendants have sufficient minimum
     contacts in California and intentionally avail themselves of the markets within California
     through the promotion, sale, marketing, and distribution of their products, including
     TAXOTERE®, thus rendering the exercise of jurisdiction by this Court proper and necessary.
             5.     Venue is proper in this judicial district pursuant to Code of Civil Procedure 395.5.
     Defendants transact business in Los Angeles County and the events complained of occurred in
     Los Angeles County.
                                                  PARTIES
             1.     Plaintiff RAMONA GIBSON is a natural person currently residing in California,
           and received chemotherapy treatment with TAXOTERE®. She was prescribed and
           administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
           packaged, distributed, and sold by Defendants. RAMONA GIBSON has suffered damages
           as a result of Defendants' illegal and wrongful conduct alleged herein.
             2.     Plaintiff DOLLETHEA FOX is a natural person currently residing in California,
     and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
     TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
     distributed, and sold by Defendants. DOLLETHEA FOX has suffered damages as a result of
     Defendants' illegal and wrongful conduct alleged herein.



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 1          3.      Plaintiff PHYLLIS DUPREE is a natural person currently residing in New
 2   Jersey, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 3   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 4   packaged, distributed, and sold by Defendants. PHYLLIS DUPREE has suffered damages as a
 5   result of Defendants' illegal and wrongful conduct alleged herein.
 6          4.      Plaintiff JENNIFER W. EDWARDS is a natural person currently residing in

 7   Alabama, and received chemotherapy treatment with TAXOTEREID. She was prescribed and
 8   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
     packaged, distributed, and sold by Defendants. JENNIFER W. EDWARDS has suffered
10   damages as a result of Defendants' illegal and wrongful conduct alleged herein.
11          5.      Plaintiff GEORGETTE ENWRIGHT is a natural person currently residing in
12   South Carolina, and received chemotherapy treatment with TAXOTERE®. She was prescribed
13   and administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
14   packaged, distributed, and sold by Defendants. GEORGETTE ENWRIGHT has suffered
15   damages as a result of Defendants' illegal and wrongful conduct alleged herein.
16          6.      Plaintiff CAROLYN K. ESTES is a natural person currently residing in Arizona,
17   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
18   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
19   distributed, and sold by Defendants. CAROLYN K. ESTES has suffered damages as a result of
20   Defendants' illegal and wrongful conduct alleged herein.
21           7. -   Plaintiff ERMA FARRINGTON is a natural person currently residing in North
22   Carolina, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
23   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
24   packaged, distributed, and sold by Defendants. ERMA FARRINGTON has suffered damages as
25   a result of Defendants' illegal and wrongful conduct alleged herein.
26           8.     Plaintiff MARY FAULKNER is a natural person currently residing in Georgia,
27   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
28   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,



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 1    distributed, and sold by Defendants. MARY FAULKNER has suffered damages as a result of
 2    Defendants' illegal and wrongful conduct alleged herein.
 3           9.     Plaintiff MARTHA A. FOSTER is a natural person currently residing in Alaska,
 4    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 5    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 6    distributed, and sold by Defendants. MARTHA A. FOSTER has suffered damages as a result of
 7    Defendants' illegal and wrongful conduct alleged herein.
 8           10.    Plaintiff AUDREY FRIDIA is a natural person currently residing in Texas, and
 9    received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
10    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
11    distributed, and sold by Defendants. AUDREY FRIDIA has suffered damages as a result of
12    Defendants' illegal and wrongful conduct alleged herein.
13           11.    Plaintiff LINDA FULLMORE is a natural person currently residing in Georgia,
14    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 15   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
16    distributed, and sold by Defendants. LINDA FULLMORE has suffered damages as a result of
17    Defendants' illegal and wrongful conduct alleged herein.
 18          12.    Plaintiff MIKKI GARZA is a natural person currently residing in Texas, and
 19   received chemotherapy treatment with TAXOTERE/11 She was prescribed and administered
20    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
21    distributed, and sold by Defendants. MIKKI GARZA has suffered damages as a result of -
22    Defendants' illegal and wrongful conduct alleged herein.
23           13.     Plaintiff JEANNIE GERBER is a natural person currently residing in West
 24   Virginia, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 25   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 26   packaged, distributed, and sold by Defendants. JEANNIE GERBER has suffered damages as a
 27   result of Defendants' illegal and wrongful conduct alleged herein.
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 1          14.    Plaintiff PAMELA GERVIN is a natural person currently residing in Ohio, and
 2   received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 3   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 4   distributed, and sold by Defendants. PAMELA GERVIN has suffered damages as a result of
 5   Defendants' illegal and wrongful conduct alleged herein.
 6          15.     Plaintiff VERTHAVIA GIBBS is a natural person currently residing in
 7   California, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 8   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 9   packaged, distributed, and sold by Defendants. VERTHAVIA GIBBS has suffered damages as a
10   result of Defendants' illegal and wrongful conduct alleged herein.
11          16.     Plaintiff PHYLLIS M. GILL is a natural person currently residing in Florida,
12   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
13   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
14   distributed, and sold by Defendants. PHYLLIS M. GILL has suffered damages as a result of
15   Defendants' illegal and wrongful conduct alleged herein.
16          17.     Plaintiff SHANNA GIVENS is a natural person currently residing in New
17   Jersey, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
18   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
19   packaged, distributed, and sold by Defendants. SHANNA GIVENS has suffered damages as a
20   result of Defendants' illegal and wrongful conduct alleged herein.
21          18.     Plaintiff SALLIE R. GORE is a natural person currently residing in South
22   Carolina, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
23   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
24   packaged, distributed, and sold by Defendants. SALLIE R. GORE has suffered damages as a
25   result of Defendants' illegal and wrongful conduct alleged herein.
26          19.     Plaintiff SHELBY GRANT is a natural person currently residing in South
27   Carolina, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
28   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,



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                           COMPLAINT AND DEMAND FOR JURY TRIAL
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  1    packaged, distributed, and sold by Defendants. SHELBY GRANT has suffered damages as a
  2    result of Defendants' illegal and wrongful conduct alleged herein.
  3           20.     Plaintiff AMELIA GREEN is a natural person currently residing in Illinois, and
  4    received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
  5    TAXOTEREID, which was developed, manufactured, promoted, marketed, packaged,
  6    distributed, and sold by Defendants. AMELIA GREEN has suffered damages as a result of
  7    Defendants' illegal and wrongful conduct alleged herein.
  8           21.     Plaintiff ROBYN GREER is a natural person currently residing in Oklahoma,
  9    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 10    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 11    distributed, and sold by Defendants. ROBYN GREER has suffered damages as a result of
•-12   Defendants' illegal and wrongful conduct alleged herein.
 13           22.     Plaintiff CHARLOTTE GUNN is a natural person currently residing in Ohio,
 14    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 15    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 16    distributed, and sold by Defendants. CHARLOTTE GUNN has suffered damages as a result of
 17    Defendants' illegal and wrongful conduct alleged herein.
 18           23.     Plaintiff TANYA GURNEY is a natural person currently residing in Florida, and
 19    received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 20    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 21    distributed, and sold by Defendants. TANYA GURNEY has suffered damages as a result of
 22    Defendants' illegal and wrongful conduct alleged herein.
 23           24.     Plaintiff DORCILLE HADLEY is a natural person currently residing in Texas,
 24    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 25    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 26    distributed, and sold by Defendants. DORCILLE HADLEY has suffered damages as a result of
 27    Defendants' illegal and wrongful conduct alleged herein.
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 1           25.    Plaintiff GLENDA HAMNER is a natural person currently residing in
 2    Mississippi, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 3    administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 4    packaged, distributed, and sold by Defendants. GLENDA HAMNER has suffered damages as a
 5    result of Defendants' illegal and wrongful conduct alleged herein.
 6           26.     Plaintiff BEVERLY HARCOURT is a natural person currently residing in Iowa,

 7    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 8    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 9    distributed, and sold by Defendants. BEVERLY HARCOURT has suffered damages as a result
10    of Defendants' illegal and wrongful conduct alleged herein.
11           27.     Plaintiff BETTY HAWKINS is a natural person currently residing in Maryland,
12    and received chemotherapy- treatment with TAXOTERE®. She was prescribed and administered
13    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
14    distributed, and sold by Defendants. BETTY HAWKINS has suffered damages as a result of
15    Defendants' illegal and wrongful conduct alleged herein.
16           28.     Plaintiff NANCY HEARNE is a natural person currently residing in Louisiana,
17    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
18    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
19    distributed, and sold by Defendants. NANCY I IEARNE has suffered damages as a result of
20    Defendants' illegal and wrongful conduct alleged herein.
21           29.      Plaintiff ADELFA HEVENER is a natural person currently residing in
22    California, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
23    administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
24    packaged, distributed, and sold by Defendants. ADELFA HEVENER has suffered damages as a
25    result of Defendants' illegal and wrongful conduct alleged herein.
26            30.    Plaintiff MOVELL HOLLOWAY is a natural person currently residing in South
27    Carolina, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 28   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,



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  1   packaged, distributed, and sold by Defendants. MOVELL HOLLOWAY has suffered damages
  2   as a result of Defendants' illegal and wrongful conduct alleged herein.
  3          31.     Plaintiff BENDETTA HOSNEY is a natural person currently residing in Texas,
  4   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
  5   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
  6   distributed, and sold by Defendants. BENDETTA HOSNEY has suffered damages as a result of
  7   Defendants' illegal and wrongful conduct alleged herein.
  8          32.     Plaintiff ANNIE L. JACKSON is a natural person currently residing in
  9   Mississippi, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 10   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 11   packaged, distributed, and sold by Defendants. ANNIE L. JACKSON has suffered damages as a
 12   result of Defendants' illegal and wrongful conduct alleged herein.
 13          33.     Plaintiff PEGGY JACKSON is a natural person currently residing in Mississippi,
 14   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 15   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 16   distributed, and sold by Defendants. PEGGY JACKSON has suffered damages as a result of
 17   Defendants' illegal and wrongful conduct alleged herein.
 18          34.     Plaintiff WANDA JACKSON is a natural person currently residing in Arkansas,
 19   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 20   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 21   distributed, and sold by Defendants. WANDA JACKSON has suffered damages as a result of
 22   Defendants' illegal and wrongful conduct alleged herein.
 23           35.    Plaintiff ANITA JACOBS is a natural person currently residing in Maryland, and
 24   received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 25   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 26   distributed, and sold by Defendants. ANITA JACOBS has suffered damages as a result of
 27   Defendants' illegal and wrongful conduct alleged herein.
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             36.     Plaintiff ARLENE JEFFERSON THROWER is a natural person currently
  I   residing in California, and received chemotherapy treatment with TAXOTERE®. She was
  3   prescribed and administered TAXOTERE®, which was developed, manufactured, promoted,
  4   marketed, packaged, distributed, and sold by Defendants. ARLENE JEFFERSON THROWER
  5   has suffered damages as a result of Defendants' illegal and wrongful conduct alleged herein.
  6          37.     Plaintiff CASSANDRA JOHNSON is a natural person currently residing in
  7   Georgia, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
      administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
  8   packaged, distributed, and sold by Defendants. CASSANDRA JOHNSON has suffered damages
 10   as a result of Defendants' illegal and wrongful conduct alleged herein.
 11          38.     Plaintiff TANYA JOHNSON is a natural person currently residing in Maryland,
 12   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 13   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 14   distributed, and sold by Defendants. TANYA JOHNSON has suffered damages as a result of
 15   Defendants' illegal and wrongful conduct alleged herein.
 16          39.     Plaintiff DEBORAH JOLLA is a natural person currently residing in Arizona,
 17   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 18   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 19   distributed, and sold by Defendants. DEBORAH JOLLA has suffered damages as a result of
 20   Defendants' illegal and wrongful conduct alleged herein.
 21          40.     Plaintiff LILLIE JONES is a natural person currently residing in Indiana, and
 22   received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 23   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 24   distributed, and sold by Defendants. LILLIE JONES has suffered damages as a result of
 25   Defendants' illegal and wrongful conduct alleged herein.
 26           41.    Plaintiff CLEDELL KEMP is a natural person currently residing in Texas, and
 27   received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 28   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,



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  1   distributed, and sold by Defendants. CLEDELL KEMP has suffered damages as a result of
  2   Defendants' illegal and wrongful conduct alleged herein.
  3          42.     Plaintiff MARIE LACKEY is a natural person currently residing in California,
  4   and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
  5   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
  6   distributed, and sold by Defendants. MARIE LACKEY has suffered damages as a result of
  7   Defendants' illegal and wrongful conduct alleged herein.
  8          43.     Plaintiff ANGELA ANITA LAMB is a natural person currently residing in
  9   Florida, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 10   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 11   packaged, distributed, and sold by Defendants. ANGELA ANITA LAMB has suffered damages
 12   as a result of Defendants' illegal and wrongful conduct alleged herein.
 13          44.     Plaintiff GWEN LANCE is a natural person currently residing in North Carolina,
 14   and received chemotherapy treatment with TAXOTEREO. She was prescribed and administered
 15   TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 16   distributed, and sold by Defendants. GWEN LANCE has suffered damages as a result of
 17   Defendants' illegal and wrongful conduct alleged herein.
 18          45.     Plaintiff RACINE LESTER is a natural person currently residing in Ohio, and
 19   received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 20   TAXOTEREID, which was developed, manufactured, promoted, marketed, packaged,
 21   distributed, and sold by Defendants. RACINE LESTER has suffered damages as a result of
 22   Defendants' illegal and wrongful conduct alleged herein.
 23          46.      Plaintiff SHAUNTEL MAXWELL is a natural person currently residing in
 24   California, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 25   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 26   packaged, distributed, and sold by Defendants. SHAUNTEL MAXWELL has suffered damages
 27   as a result of Defendants' illegal and wrongful conduct alleged herein.
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1           47.     Plaintiff FELICIA MCCLINTON is a natural person currently residing in
 2    Mississippi, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 3    administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 4    packaged, distributed, and sold by Defendants. FELICIA MCCLINTON has suffered damages
 5    as a result of Defendants' illegal and wrongful conduct alleged herein.
 6           48.     Plaintiff BRITTANY J. MEECE is a natural person currently residing in Ohio,
 7    and received chemotherapy treatment with TAXOTERE®. She was prescribed and administered
 8    TAXOTERE®, which was developed, manufactured, promoted, marketed, packaged,
 9    distributed, and sold by Defendants. BRITTANY J. MEECE has suffered damages as a result of
 10   Defendants' illegal and wrongful conduct alleged herein.
 11          49.     Plaintiff KIMBERLY MENDOZA is a natural person currently residing in
 12   CalifoFnia; and received chemotherapy treatment with TAXOTERE®. She was prescribed arid
 13   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 14   packaged, distributed, and sold by Defendants. KIMBERLY MENDOZA has suffered damages
 15   as a result of Defendants' illegal and wrongful conduct alleged herein.
 16          1.    - Plaintiff DEBORAH MEYERS is a natural person currently residing in
 17   Colorado, and received chemotherapy treatment with TAXOTERE®. She was prescribed and
 18   administered TAXOTERE®, which was developed, manufactured, promoted, marketed,
 19   packaged, distributed, and sold by Defendants. DEBORAH MEYERS has suffered damages as a
 20   result of Defendants' illegal and wrongful conduct alleged herein.
 21          2.      The aforementioend Plaintiffs request to be coordinated for discovery purposes
 22   only to the Judicial Council Consolidated Proceeding 4908.
 23           3.     Sanofi U.S. Services Inc., f/k/a Sanofi-Aventis U.S. Inc., is incorporated under
 24   the laws of the State of Delaware, with its principal place of business located at 55 Corporate
 25   Dr., Bridgewater, NJ 08807.
 26           4.     Sanofi U.S. Services Inc., is a wholly owned subsidiary of Sanofi-Aventis, and is
 27   one of the largest pharmaceutical companies in the United States.
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 1          5.      SANOFI U.S. SERVICES INC., formerly known as SANOFI-AVENTIS U.S.
 2   INC, and SANOFI-AVENTIS U.S. LLC, separately and doing business as WINTHROP U.S.,
 3   shall be referred to herein individually by name or jointly as "Sanofi Defendants ."
 4          6.      Sanofi U.S. Services Inc. develops products in therapeutic areas including
 5   cardiovascular disease, central nervous systems, internal medicine, metabolic disorder,
 6   oncology, ophthalmology, and thrombosis.
 7          7.      The predecessor to Sanofi U.S. Services Inc. was founded in 1950 and until 2006,
 8   was known as Sanofi-Aventis U.S. Inc.
 9          8.      Sanofi U.S. Services Inc. develops, manufactures, markets, and distributes
10   pharmaceutical products in the United States.
11          9.      Sanofi U.S. Services Inc. operates pharmaceutical research sites in Bridgewater,
12   NJ, Malvern, PA, Cambridge MA, and Tucson, AZ.
13          10.     Sanofi U.S. Services Inc. has a distribution center in Forest Park, GA, a
14   manufacturing facility in Kansas City, MO, and a packaging services facility in St. Louis, MO.
15          11.     Sanofi U.S. Services Inc. markets its parent's products in the U.S. through its
16   substantial number of field sales professionals.
17          12.     One of Sanofi U.S. Services Inc.'s key products is the cancer treatment drug,
18   TAXOTERE®.
19          13.     Sanofi-Aventis U.S. LLC is a limited liability company, formed under the laws of
20   the State of Delaware, with its principal place of business located at 55 Corporate Dr.,
21 - Bridgewater, NJ 08807.
22           14.    Sanofi-Aventis U.S. LLC is a healthcare company that was founded in 1999 and
23   discovers, develops, produces, and markets therapeutic solutions focused on patients' needs in
24   the United States.
25           15.    Sanofi-Aventis U.S. LLC is one of the current holders of the approved New Drug
26   Application ("NDA") and supplemental NDAs for TAXOTERE®.
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  1           16.    Defendant Sanofi-Aventis U.S. LLC sometimes operates, promotes, markets,
  2   sells, distributes pharmaceutical products, and does business under the name Winthrop U.S.,
  3   which is a division within Sanofi-Aventis U.S. LLC.
  4           17.    Sanofi-Aventis U.S. LLC was formed on or about June 28, 2000 under the laws
  5   of the State of Delaware.
  6           18.    At all times relevant hereto, Defendant Sanofi-Aventis U.S. LLC engaged in
  7   transactions and conducted business within the State of Delaware and has derived substantial
  8   revenue from goods and products disseminated and used in the State of Delaware. At all times
  9   relevant hereto, as part of its business, Sanofi-Aventis U.S. LLC was involved in researching,
 10   analyzing, licensing, designing, testing, formulating, manufacturing, producing, processing,
 11   assembling, inspecting, distributing, marketing, labeling, promoting, packaging, advertising
 12   and/or selling the prescription drug known as TAXOTERE® to the publio,-including the
 13   Plaintiff.
 14           19.    Defendant Sanofi-Aventis U.S. LLC sometimes operates, promotes, markets,
 15   sells, distributes pharmaceutical products, and does business under the name of Winthrop U.S.,
 16   which is not a separately existing legal entity but rather is a business unit or division operating
 17   within and part of Sanofi-Aventis U.S. LLC.
 18           20.    At all times material to this lawsuit, the Sanofi Defendants were authorized to do
 19   business within the State of California; did in fact transact and conduct business in the State of
 20   California; derived substantial revenue from goods and products used in the State of California;
 21   and supplied TAXOTERE® within the State of California.
 22           21.    At all relevant times, and as more fully set forth below, the Sanofi Defendants
 23   acted in conjunction with other affiliated, related, jointly owned and controlled entities or
 24   subsidiaries, including each other, in the development, marketing, production, labeling,
 25   promoting, packaging, advertising, and/or selling of TAXOTERE® to the general public,
 26   including Plaintiffs. The Sanofi Defendants acted jointly and/or as each other's agents, within
 27   the course and scope of the agency, with respect to the conduct alleged in this Complaint, such
 28   that any individuality and separateness between them had ceased and these Defendants became



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  1   the alter-ego of one another and are jointly-liable for their misconduct and wrongful acts as
  2   alleged herein.
  3           22.       The Sanofi Defendants transact substantial business in California. The Sanofi
  4   Defendants have sponsored or conducted clinical trials of their products in California, including
  5   trials of TAXOTERE®. For example, in 2005 Aventis sponsored a clinical trial at Stanford
  6   University of the efficacy of TAXOTERE® for lung cancer treatment; from 2006 to 2012 Sanofi
  7   sponsored a clinical trial at Stanford on the efficacy of TAXOTERE® for breast cancer
  8   treatment; from 2006 to 2012 Sanofi sponsored an interventional clinical trial at Stanford
  9   Unoversity of TAXOTERE® in patients with breast cancer; Sanofi also sponsored a large-scale
 10   epidemiological study on its drug Lantus at Kaiser Permanente in Northern and Southern
 11   California, which terminated in 2012. In addition, Sanofi participates in ongoing research and
 12   development collaborations with the University of California, San Francisco.
 13           23.       In 2015, Sanofi's net sales exceeded €34 billion, of which pharmaceutical sales
 14   represented the majority, at €29.8 billion. Although generic docetaxel is now available,
 15   TAXOTERE® continues to be extremely profitable for Sanofi; in 2015 sales of TAXOTERE®
 16   alone were €222 million.
 17           24.       Sanofi spends large sums on California politics, mainly via four entities that share
 18   the same entity identification number (1278441): Sanofi US; Sanofi US Services Inc.; Sanofi-
 19   Aventis; and Sanofi-Aventis Group.
 20           25.       For example, Sanofi US Services Inc., a subsidiary of Sanofi, engages in
 21   lobbying elected officials in California, and has recently spent at least $1.2 million on lobbying
 22   in the state.
 23           26.       Sanofi US contributes to political campaigns in California. Specifically, in 2016
 24   Sanofi US contributed $4.15 million to the Californians against the Misleading RX Measure, and
 25   $1.5 million to No On Prop 61 Californians Against the Deceptive Rx Proposition. In 2015
 26   Sanofi gave $115,000 to a campaign against Measure 15-009. Sanofi has also recently
 27   contributed $7,300 total to five assembly-member candidates, and $2,500 to the California
 28   Republican Party.



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  1          27.     Defendant McKesson Corporation is a Delaware corporation with its principal
 2    place of business at One Post Street, San Francisco, California 94104.
 3           28.     Upon investigation and belief, Plaintiffs are informed and believe that McKesson
  4   was involved in the manufacture, distribution, marketing sale, labeling and design of
  5   TAXOTERE® as detailed below. Specifically, McKesson is the 16th largest industrial
  6   corporation in America, with over $800 billion in revenue every year. McKesson is the sole
  7   supplier of numerous pharmaceuticals to both the largest pharmacies and drug suppliers in the
  8   nation including pharmacies such as Wal-Mart, Safeway, Valu-Rite, and the smallest
  9   independent and community pharmacies.
 10          29.     McKesson Corporation is a distributor of pharmaceutical and health care products
 11   that provides health information technology, medical supplies and care management tools. Upon
 12   information and belief, McKesson Corporation manufactured and supplied TAXOTERE®,
 13   among other products to both hospitals and pharmacies.
 14          30.     Upon investigation and belief, McKesson does business throughout the United
 15   States and in the State of California, and regularly and continuously did business within this
 16   judicial district including manufacturing, marketing, advertising, warning and precautions
 17   attendant to its use, selling, and distributing of TAXOTERE®. For example, McKesson
 18   Specialty Health, a division of McKesson, lists TAXOTERE® in its catalog of available
 19   products.
 20          31.     Upon investigation and belief, McKesson manufactured marketed, sold and
 21   distributed TAXOTERE® administered to Plaintiffs.
 22          32.     Upon information and belief, McKesson was the actor engaged in the acts herein
 23   alleged, acting through its agents and employees, at all times, the actions and omissions asserted
 24   in this pleading were committed by agents or employees acting within the purpose and scope of
 25   said agency and employment.
 26          33.     At all relevant times, McKesson owns US Oncology, which supported a
 27   significant amount of TAXOTERE® research and promotion.
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 1           34.     Defendant Hospira Worldwide, LLC f/kJa Hospira Worldwide, Inc., is
 2   incorporated under the laws of the State of Delaware, with its principal place of business located
 3   at 275 N. Field Drive, Lake Forest, Illinois 60045.
 4           35.     Defendant Sandoz, Inc. ("Sandoz") is incorporated under the laws of the State of
 5   Colorado, with its principal place of business located at 100 College Road West, Princeton, New
 6   Jersey 08540.
 7           36.     Defendant Accord Healthcare, Inc. ("Accord") is a corporation formed under the
 8   laws of the State of North Carolina with its principal place of business located at 1009 Slater
 9   Road, Suite 210B, Durham, North Carolina 27703.
10           37.     Plaintiffs are presently without knowledge of the true names and capacities of the
11   defendants sued herein as Does 1 through 30, and therefore sue these Defendants by such
12   fictitious names.-Plaintiffs will amend this complaint if necessary to allege their true names and
13   capacities when ascertained. Plaintiffs are informed and believe and thereon allege that each of
14   the fictitiously named Defendants is a related entity, joint venture, subsidiary, parent, co-
15   conspirator, agent, employee or affiliate of one or more of the named Defendants, and is
16   responsible for the unlawful conduct herein alleged, and that said Defendants proximately
17   caused the harm alleged herein.
18           38.     At all times relevant hereto, Defendants worked in conjunction with each other
19   and they were affiliated, related, jointly owned, and/or controlled entities or subsidiaries during
20   the researching, analyzing, licensing, designing, testing, formulating, manufacturing, producing,
21   processing, assembling, inspecting, distributing, marketing, labeling, promoting, packaging,
22   advertising and/or selling the prescription drug known as TAXOTEREO.
23           39.     At all times alleged herein, Defendants include and included any and all parents,
24   subsidiaries, affiliates, divisions, franchises, partners, joint ventures, and organizational units of
25   any kind, their predecessors, successors and assigns and their officers, directors, employees,
26   agents, representatives and any and all other persons acting on their behalf.
27           40.     At all times herein mentioned, each of the Defendants was the agent, servant,
28   partner, predecessors in interest, and joint venture of each of the remaining Defendants herein



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  1   and was at all times operating and acting with the purpose and scope of said agency, service,
  2   employment, partnership, and joint venture.
  3           41.      At all times relevant, Defendants were engaged in the business of developing,
  4   designing, licensing, manufacturing, distributing, selling, marketing, and/or introducing into
  5   interstate commerce throughout the United States, which necessarily includes California, either
  6   directly or indirectly through third parties, subsidiaries or related entities, the drug
  7   TAXOTERE®.
  8   DEFENDANT'S INVOLVEMENT IN THE DEVELOPMENT, PATENTING, TESTING,
                     MARKETING, AND SALE OF TAXOTERE®
  9
 10           42.      TAXOTERE® is a drug used in the treatment of various forms of cancer,
 11   including but not limited to breast cancer. TAXOTERE® is a part of a family of drugs
 12   commonly referred to as taxanes.
 13           43.      Taxanes are diterpenes produced by the plants of the genus Taxus (yews)
 14   featuring a taxadiene core. Taxanes are widely used as chemotherapy agents. Taxane agents
 15   include TAXOL® and TAXOTERE®. Taxane agents also exist as cabazitaxel and in generic
 16   forms as well.
 17           44.      TAXOL®, which was developed, manufactured, and distributed by Bristol-Myers
 18   Squibb and is the main competitor drug to TAXOTERE®, was first approved by the U.S. Food
 19   and Drug Administration (FDA) in December 1992.
 20           45.      The drug and chemical compound that would become known as TAXOTERE®
 21   was invented and developed by Michel Colin, Daniel Guenard, Francoise Gueritte—Voegelein,
 22   and Pierre Potier of Rhone-Poulence Sante. TAXOTERE® was conceived as an increased
 23   potency taxane.
 24           46.      The initial patent disclosing the formulation and computation of TAXOTERE®
 25   was issued to Rhone-Poulence Sante and subsequently assigned to Aventis Pharma S.A in
 26   March 1989.
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  1             47.   In 1989, Sanofi issued the prior art publication F. Lavelle, Experimental
  2   Properties of RP 56976, a TAXOL® derivative. RP 56976 was the number that Rhone-Polunec
  3   assigned to docetaxel.
  4             48.   Sanofi began enrolling patients in Phase I clinical testing trials on June 21, 1990.
  5   The study reporting on these trials was called the "TAX 001" study, which continued until May
  6   13, 1992. The results from the TAX 001 study were reported on May 24, 1994. Accordingly,
  7   Sanofi was not only involved in the patenting and assignment of the compound TAXOTERE®,
  8   but Sanofi was also directly involved in the clinical trials and testing of the compound
  9   TAXOTERE®. Accordingly, Sanofi-Aventis U.S. LLC's decisions to withhold information and
 10   data from those tests from physicians, healthcare providers, patients, and Plaintiffs in the United
 11   States.
 12             49.   Rhone-Poulenc Rorer S.A. initially sought FDA approval for TAXOTERE® in
 13   December 1994. The FDA's Oncologic Drugs Advisory Committee panel unanimously
 14   recommended the rejection of RhOne-Poulenc Rorer S.A.'s request for the approval of
 15   TAXOTERE®, because TAXOTERE® was more toxic than its competing drug TAXOLE),
 16   which had already received FDA approval, and because more studies of TAXOTERE®'s side
 17   effects were needed.
 18             50.   TAXOTERE® was ultimately approved by the FDA on May 14, 1996.
 19   According to its product labeling, TAXOTERE® was "indicated for the treatment of patients
 20   with locally advanced or metastatic breast cancer after failure of prior chemotherapy."
 21             51.   After the initial FDA approval, Sanofi sought and was granted FDA approval for
 22   additional indications for TAXOTERE®. Based on self-sponsored clinical trials, Sanofi claimed
 23   superiority over other chemotherapy products approved to treat breast cancer. These marketing
 24   claims included claims of superior efficacy over the lower potency taxane product TAXOL®,
 25   which was the primary competitor product to TAXOTERE®.
 26             52.   Defendant McKesson Corporation distributed, packaged, labeled, and promoted
 27   TAXOTERE® in California and around the country throughout this period. U.S. Oncology, a
 28   specialty drug distributor now owned by McKesson, supported research and the subsequent



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  1   promotion of TAXOTERE il) at conferences including the annual meetings for the American
  2   Society of Clinical Oncology. McKesson continued this activity after it acquired U.S. Oncology
  3   in 2010.
             53.     Contrary to Defendants' claims of superior efficacy, post market surveillance has
      shown that the more potent TAXOTERE® does not in fact offer increased efficacy or benefits
  4   over other taxanes, and in fact is more toxic. Defendants concealed and failed to warn about the
  7   existence of studies from the FDA, physicians, and patients that refuted Defendants' claims.
  8          54.     A study of available clinical studies concerning the relative efficacy of taxanes in
  9   the treatment of breast cancer, published in the August 2007 journal Cancer Treatment Review,
 10   concluded that no significant differences were found in the efficacy and outcomes obtained with
 11   TAXOTERE® or TAXOL®.
 12         - 55.     A study published in 2008 in the New England Journal of Medicine, titled
 13   Weekly Paclitaxel in the Adjuvant Treatment of Breast Cancer, concluded that TAXOL® was
 14   more effective than TAXOTERE® for patients undergoing standard adjuvant chemotherapy
 15   with doxorubicin and cyclophosphamide.
 16          56.     Despite the publication of these studies, Defendants continued to make false and
 17   misleading statements promoting the "superior efficacy" of TAXOTERE® over the competing
 18   product TAXOL®. In June 2008, Sanofi-Aventis utilized marketing and promotional materials
 19   for TAXOTERE® at the annual meeting for the American Society of Clinical Oncology,
 20   comparing the efficacy of TAXOTERE® versus TAXOL®. Specifically, Sanofi-Aventis
 21   utilized a "reprint carrier," citing a clinical study published in the August 2005 edition of the
 22   Journal of Clinical Oncology ("JCO study") and performed by researchers affiliated with Sanofi
 23   and US Oncology. The study concluded that "TAXOTERE® demonstrated superior efficacy
 24   compared with TAXOL®, providing significant clinical benefit in terms of survival and time to
 25   disease progression, with a numerically higher response rate and manageable toxicities."
 26           57.    Defendants' statements in the "reprint carrier" marketing the conclusions of the
 27   2005 JCO study were false and/or misleading in light of the 2007 and 2008 studies finding that
 28   TAXOTERE® was not more effective than TAXOL® in the treatment of breast cancer.



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  1          58.     As a result of these false and misleading statements, in 2009, the FDA issued a
  2   warning letter to Sanofi-Aventis (the same company as Defendant Sanofi S.A. before Sanofi-
  3   Aventis changed its name in 2011) citing these unsubstantiated claims of superiority over
  4   TAXOL 0 stating:
  5          The Division of Drug Marketing, Advertising, and Communications (DDMAC)
  6          of the U.S. Food and Drug Administration (FDA) has reviewed a professional
             reprint carrier [US.DOC.07.04.078] for TAXOTERE® (docetaxel) Injection
  7          Concentrate, Intravenous Infusion (TAXOTERE® ) submitted under cover of
             Form FDA 2253 by sanofi-aventis (SA) and obtained at the American Society of
  8
             Clinical Oncology annual meeting in June 2008. The reprint carrier includes a
  9          reprint' from the Journal of Clinical Oncology, which describes the TAX 311
             study. This reprint carrier is false or misleading because it presents
 10          unsubstantiated superiority claims and overstates the efficacy of TAXOTERE®
             Therefore, this material misbrands the drug in violation of the Federal Food,
 11
             Drug, and Cosmetic Act (the Act), 21 U.S.C. 352(a) and 321(n). Cf 21 CFR
—12          202.1(e)(6)(i), (ii) & (e)(7)(ii).2 _

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             59.     A qui tam lawsuit was also filed against Sanofi-Aventis and its affiliates in the
 14
      United States District Court for the Eastern District of Pennsylvania by a former employee
 15
      accusing Sanofi-Aventis and its affiliates of engaging in a fraudulent marketing scheme, paying
 16
      kickbacks, and providing other unlawful incentives to entice physicians to use TAXOTERE®.
 17
      See U.S. ex rel. Gohil v. Sanofi-Aventis U.S. Inc., Civil Action No. 02-2964 (E.D. Pa. 2015).
 18
             60.     Beginning in 1996, Sanofi-Aventis U.S. LLC and its predecessors and affiliates
 19
      planned, directed, and engaged in a marketing scheme that promoted TAXOTERE® for off-
 20
      label uses not approved by the FDA. The scheme took two forms: first, Defendants trained and
 21
      directed their employees to misrepresent the safety and effectiveness of the off-label use of
 22
      TAXOTERE® to expand the market for TAXOTERE® in unapproved settings; and second,
 23
      Defendants paid healthcare providers illegal kickbacks in the form of sham grants, speaking
 24
      fees, travel, entertainment, sports and concert tickets, preceptorship fees, and free reimbursement
 25
 26          Jones SE, Erban J, Ovemioyer B, et al. Randomized phase III study of docetaxel
      compared with paclitaxel in metastatic breast cancer. I Clin Oncol. 2005;23(24):5542-51.
      2
 27          Correspondence signed by Keith Olin, Phann.D., Regulatory Review Officer in the
      FDA's Division of Drug Marketing, Advertising and Communications to MaryRose Salvation,
 28   Director of US Regulatory Affairs Marketed Products at Sanofi-Aventis.


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 1   assistance to incentivize healthcare providers to prescribe TAXOTERE® for off-label uses. As a
 2   direct result of Defendants' fraudulent marketing scheme, Defendants dramatically increased
 3   revenue on sales of TAXOTERE® from $424 million in 2000 to $1.4 billion in 2004. US. ex
 4       Gohil v. Sanofi-Aventis U.S. Inc., 96 F. Supp. 3d 504, 508 (E.D. Pa. 2015).
 5          61.     As a direct result of their wrongful conduct and illegal kickback schemes,
 6   Defendants directly caused thousands of individuals to be exposed to TAXOTEREe's increased
 7   toxicity as compared to other available less toxic products such as TAXOL®.
 8          62.     As a direct result of their aforementioned conduct, Defendants caused thousands
 9   of individuals to be exposed to increased frequency and more severe side effects, including but
10   not limited to disfiguring permanent alopecia (hair loss).
II           DEFENDANTS' COVER UP IN THE UNITED STATES REGARDING
         THE CAUSAL RELATIONSHIP BETWEEN TAXOTERE® AND PERMANENT
12
                            DISFIGURING HAIR LOSS
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            63.     Although temporary alopecia, or hair loss, is a common side effect related to
14
     chemotherapy drugs, permanent alopecia is not. Defendants, through their publications and
15
     marketing materials, misled Plaintiffs, the public, and the medical community to believe that, as
16
     with other chemotherapy drugs that cause alopecia, patients' hair would grow back.
17
            64.     Defendants knew or should have known that the rate of permanent alopecia
18
     related to TAXOTERE® was far greater than with other products available to treat the same
19
     condition as Defendants' product.
20
            65.     Permanent baldness (permanent alopecia) is a disfiguring condition, especially for
21
     women. Women who experienced disfiguring permanent alopecia as a result of the use of
22
     TAXOTERE® suffer great mental anguish as well as economic damages, including but not
23
     limited to loss of work or inability to work due to significant psychological damage.
24
            66.     Although women might accept the possibility of permanent baldness as a result of
25
     the use of TAXOTERE® if no other product were available to treat their cancer, this was not the
26
     case. Before Defendants' wrongful conduct resulted in tens of thousands of women being
27
     exposed to the adverse side effects of TAXOTERE®, there were already similar products on the
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 1    market that were at least as effective as TAXOTERE® and did not subject female users to the
 2    same risk of disfiguring permanent alopecia as does TAXOTERE®.
 3           67.     Beginning in the late 1990s, Sanofi S.A. and Aventis Pharma S.A. sponsored
 4    and/or were aware of a study titled the GEICAM 9805 study. In 2005, Sanofi S.A. and Aventis
  5   Pharma S.A. knew that the GEICAM 9805 study demonstrated that 9.2% of patients who took
  6   TAXOTERE® had persistent alopecia, or hair loss, for up to 10 years and 5 months, and in some
  7   cases, longer, after taking TAXOTERE®. Sanofi S.A. and Aventis Pharma S.A. knowingly,
  8   intentionally, and wrongfully withheld these results contained in the GEICAM 9805 study from
  9   physicians, healthcare providers, patients, and Plaintiffs in the United States.
 10          68.     In 2006, Defendants knew or should have known that a Denver-based oncologist
 11   in the United States had observed that an increased percentage (6.3%) of his patients who had
 12   taken TAXOTERE® suffered from permanent disfiguring hair loss for years after the patients
 13   had stopped taking TAXOTERE®.
 14          69.     Despite Defendants' knowledge of the relevant findings from the GEICAM 9805
 15   study, as well as reports from patients who had taken TAXOTERE® and suffered from
 16   permanent disfiguring hair loss, Defendants failed to provide accurate information and proper
 17   warnings to physicians, healthcare providers, and patients in the United States, including
 18   Plaintiffs, that patients who take TAXOTERE® are at a significantly increased risk of suffering
 19   from permanent disfiguring hair loss.
 20           70.    Defendants chose to withhold this information in the United States despite
 21   advising physicians, patients, and regulatory agencies in other countries, including the European
 22   Union and Canada, that TAXOTERE® causes an increased risk of permanent disfiguring hair
 23   loss. Defendants instead continued to warn or advise physicians, healthcare providers, patients,
 24   and Plaintiffs in the United States only with the generic, vague, and insufficient warning that
 25   "hair generally grows back" after taking TAXOTERE®.
 26           71.     Users of TAXOTERE® were not presented with the opportunity to make an
 27   informed choice as to whether the benefits of TAXOTERE® were worth its associated risks.
 28   Defendants engaged in a pattern of deception by overstating the benefits of TAXOTERE® as



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  1   compared to other alternatives while simultaneously failing to warn of the risk of disfiguring
 2    permanent alopecia.
  3          72.     In other countries, Defendants published information to individual patients and
 4    regulatory agencies about TAXOTERE® and the risk of permanent alopecia. But until
  5   December 2015, the words permanent alopecia or permanent hair loss did not appear in any
  6   information published by Defendants in the United States.
  7          73.     In December 2015, the FDA changed the safety labeling for TAXOTERE®
  8   (docetaxel), to add a sentence: "Cases of permanent alopecia have been reported." This sentence
  9   appears on page 33 of the label, in the Full Prescribing Information. On the first page, which is
 10   the Highlights of Prescribing Information, only "alopecia" is listed as an adverse reaction;
 11   "permanent alopecia" is not.
 12          74.     As a direct result of Defendants' wrongful and deceptive acts, tens of thousands
 13   of women were exposed to the risk of disfiguring permanent alopecia without any warning and
 14   without any additional benefit.
 15          75.     As a direct result of Defendants' failure to warn patients of the risk of disfiguring
 16   permanent alopecia in the United States, thousands of women, including Plaintiffs, as well as
 17   their health care providers, were deprived of the opportunity to make an informed decision as to
 18   whether the benefits of using TAXOTERE® over other comparable products was justified.
 19           76.    Defendants preyed on one of the most vulnerable groups of individuals at the
 20   most difficult time in their lives. Defendants obtained billions of dollars in increased revenues at
 21   the expense of unwary cancer victims simply hoping to survive their condition and return to a
 22   normal life.
 23           77.    Plaintiffs, as well as numerous other women, were the innocent victims of
 24   Defendants' greed, recklessness, and willful and wanton conduct.
 25                       PLAINTIFFS' DIAGNOSIS, TREATMENT, AND
                       RESULTING DISFIGURING PERMANENT ALOPECIA
 26
 27           78.     Plaintiff DOLLETHEA FOX was diagnosed with breast cancer. Following her
 28   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff DOLLETHEA



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    FOX nor her treating healthcare providers were aware of or informed by Defendants that
 2    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 3    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 4    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 5    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 6    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  7   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 8    suit against Defendants was tolled by such delayed discover.
  9          79.     Plaintiff DOLLETHEA FOX underwent her chemotherapy treatment. On
 10   information and belief, McKesson Corporation distributed the TAXOTERE® that
 11   DOLLETHEA FOX received.
 12          80.     Plaintiff PHYLLIS DUPREE was diagnosed with breast cancer. Following her
 13   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff PHYLLIS
 14   DUPREE nor her treating healthcare providers were aware of or informed by Defendants that
 15   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 16   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 17   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 18   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 19   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 20   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 21   suit against Defendants was tolled by such delayed discover.
 22           81.    Plaintiff PHYLLIS DUPREE underwent her chemotherapy treatment. On
 23   information and belief, McKesson Corporation distributed the TAXOTERE® that PHYLLIS
 24   DUPREE received.
 25           82.    Plaintiff JENNIFER W. EDWARDS was diagnosed with breast cancer.
 26   Following her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
 27   JENNIFER W. EDWARDS nor her treating healthcare providers were aware of or informed by
 28   Defendants that disfiguring permanent alopecia can occur following treatment with



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
 2   Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
 3   loss as a result of receiving chemotherapy with TAXOTERE®.Due to Defendants' wrongful _
 4   conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE' directly contributed
 5   to her injuries, including, but not limited to, her development of alopecia. Accordingly,
 6   Plaintiff's date to file suit against Defendants was tolled by such delayed discover.
 7          83.     Plaintiff JENNIFER W. EDWARDS underwent her chemotherapy treatment. On
 8   information and belief, McKesson Corporation distributed the TAXOTERE® that JENNIFER
 9   W. EDWARDS received.
10          84.     Plaintiff GEORGETTE ENWRIGHT was diagnosed with breast cancer.
11   Following her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
12   GEORGETTE ENWRIGHT nor her treating healthcare providers were aware of or informed by
13   Defendants that disfiguring permanent alopecia can occur following treatment with
14   TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
15   Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
16   loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
17   conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
18   to her injuries, including, but not limited to, her development of alopecia. Accordingly,
19   Plaintiffs date to file suit against Defendants was tolled by such delayed discover.
20          85.     Plaintiff GEORGETTE ENWRIGHT underwent her chemotherapy treatment. On
21   information and belief, McKesson Corporation distributed the TAXOTERE® that
22   GEORGETTE ENWRIGHT received.
23           86.    Plaintiff CAROLYN K. ESTES was diagnosed with breast cancer. Following her
24   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff CAROLYN K.
25   ESTES nor her treating healthcare providers were aware of or informed by Defendants that
26   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
27   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
28   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result



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                            COMPLAINT AND DEMAND FOR JURY TRIAL

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 1   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 2   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 3   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 4   suit against Defendants was tolled by such delayed discover.
 5          87.     Plaintiff CAROLYN K. ESTES underwent her chemotherapy treatment. On
 6   information and belief, McKesson Corporation distributed the TAXOTERE® that CAROLYN
 7   K. ESTES received.
 8          88.     Plaintiff ERMA FARRINGTON was diagnosed with breast cancer. Following
 9   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ERMA
10   FARRINGTON nor her treating healthcare providers were aware of or informed by Defendants
11   that disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
12   Accordingly, Plaintiff underwent -chemotherapy that included TAXOTERE®. Following the
13   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
14   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
15   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
16   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
17   suit against Defendants was tolled by such delayed discover.
18           89.    Plaintiff ERMA FARRINGTON underwent her chemotherapy treatment. On
19   information and belief, McKesson Corporation distributed the TAXOTERE® that ERMA
20   FARRINGTON received.
21           90.    Plaintiff MARY FAULKNER was diagnosed with breast cancer. Following her
22   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff MARY
23   FAULKNER nor her treating healthcare providers were aware of or informed by Defendants that
24   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
25   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
26   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
27   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
28   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,



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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file

  2   suit against Defendants was tolled by such delayed discover.
  3          91.     Plaintiff MARY FAULKNER underwent her chemotherapy treatment. On
  4   information and belief, McKesson Corporation distributed the TAXOTERE® that MARY
  5   FAULKNER received.
  6          92.     Plaintiff MARTHA A. FOSTER was diagnosed with breast cancer. Following her
  7   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff MARTHA A.
  8   FOSTER nor her treating healthcare providers were aware of or informed by Defendants that
  9   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 10   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 11   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 12   of receiving chemotherapy with TAXOTERECI. Due to Defendants' wrongful conduct, alleged
 13   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 14   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 15   suit against Defendants was tolled by such delayed discover.
 16           93.     Plaintiff MARTHA A. FOSTER underwent her chemotherapy treatment. On
 17   information and belief, McKesson Corporation distributed the TAXOTERE® that MARTHA A.
 18   FOSTER received.
 19           94.     Plaintiff AUDREY FRIDIA was diagnosed with breast cancer. Following her
 20   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff AUDREY
 21   FRIDIA nor her treating healthcare providers were aware of or informed by Defendants that
 22   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 23   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 24   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 25   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 26   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 27   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 28   suit against Defendants was tolled by such delayed discover.



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                              COMPLAINT AND DEMAND FOR JURY TRIAL

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 1           95.     Plaintiff AUDREY FRIDIA underwent her chemotherapy treatment. On
 2    information and belief, McKesson Corporation distributed the TAXOTERE® that AUDREY
 3 - FRIDIA received.
 4           96.     Plaintiff LINDA FULLMORE was diagnosed with breast cancer. Following her
 5    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff LINDA
 6    FULLMORE nor her treating healthcare providers were aware of or informed by Defendants
 7    that disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 8    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 9    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
11    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
12    including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
13    suit against Defendants was tolled by such delayed discover.
14           97.     Plaintiff LINDA FULLMORE underwent her chemotherapy treatment. On
15    information and belief, McKesson Corporation distributed the TAXOTERE® that LINDA
 16   FULLMORE received.
 17           98.    Plaintiff MIKKI GARZA was diagnosed with breast cancer. Following her
 18   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff MIKKI
 19   GARZA nor her treating healthcare providers were aware of or informed by Defendants that
 20   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 21   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 22   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 23   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 24   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 25   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 26   suit against Defendants was tolled by such delayed discover.
 27           99.    Plaintiff MIKKI GARZA underwent her chemotherapy treatment. On information

 28   and belief, McKesson Corporation distributed the TAXOTERE® that MIKKI GARZA received.



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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1           100.    Plaintiff JEANNIE GERBER was diagnosed with breast cancer. Following her
2    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff JEANNIE
3    GERBER nor her treating healthcare providers were aware of or informed by.Defendants that
 4   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 5   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 6   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 7   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 8   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 9   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
10   suit against Defendants was tolled by such delayed discover.
11          101.    Plaintiff JEANNIE GERBER underwent her chemotherapy treatment. On
12   information and belief, McKesson Corporation distributed the TAXOTERE® that JEANNIE
13   GERBER received.
14           102.   Plaintiff PAMELA GERVIN was diagnosed with breast cancer. Following her

15   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff PAMELA
16   GERVIN nor her treating healthcare providers were aware of or informed by Defendants that

17   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
18   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
19   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
20   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
21   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
22   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
23   suit against Defendants was tolled by such delayed discover.
24           103    Plaintiff PAMELA GERVIN underwent her chemotherapy treatment. On

25   information and belief, McKesson Corporation distributed the TAXOTERE® that PAMELA
26   GERVIN received.
27           104. Plaintiff VERTHAVIA GIBBS was diagnosed with breast cancer. Following her

28   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff VERTHAVIA



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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   GIBBS nor her treating healthcare providers were aware of or informed by Defendants that
  2   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
  3   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
  4   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
  5   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
  6   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  7   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
  8   suit against Defendants was tolled by such delayed discover.
  9          105. Plaintiff VERTHAVIA GIBBS underwent her chemotherapy treatment. On
 10   information and belief, McKesson Corporation distributed the TAXOTERE® that
 11   VERTHAVIA GIBBS received.
 12          106: • - Plaintiff RAMONA GIBSON was diagnosed with breast cancer. Following her
 13   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff RAMONA
 14   GIBSON nor her treating healthcare providers were aware of or informed by Defendants that
 15   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 16   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 17   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 18   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 19   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 20   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 21   suit against Defendants was tolled by such delayed discover.
 22           107.   Plaintiff RAMONA GIBSON underwent her chemotherapy treatment. On
 23   information and belief, McKesson Corporation distributed the TAXOTERE® that RAMONA
 24   GIBSON received.
 25           108.    Plaintiff PHYLLIS M. GILL was diagnosed with breast cancer. Following her
 26   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff PHYLLIS M.
 27   GILL nor her treating healthcare providers were aware of or informed by Defendants that
 28   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
  2   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
  3   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
  4   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  5   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
  6   suit against Defendants was tolled by such delayed discover.
  7          109.    Plaintiff PHYLLIS M. GILL underwent her chemotherapy treatment. On
  8   information and belief, McKesson Corporation distributed the TAXOTERE® that PHYLLIS M.
  9   GILL received.
 10          110.    Plaintiff SHANNA GIVENS was diagnosed with breast cancer. Following her
 11   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff SHANNA
 12   GIVENS nor her treating healthcare providers were aware of or informed by Defendants that
 13   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 14   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 15   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 16   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 17   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 18   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 19   suit against Defendants was tolled by such delayed discover.
 20          111.    Plaintiff SHANNA GIVENS underwent her chemotherapy treatment. On
 21   -information and belief, McKesson Corporation distributed the TAXOTERE® that SHANNA
 22   GIVENS received.
 23           112.   Plaintiff SALLIE R. GORE was diagnosed with breast cancer. Following her
 24   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff SALLIE R.
 25   GORE nor her treating healthcare providers were aware of or informed by Defendants that
 26   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 27   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 28   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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     of receiving chemotherapy with TAXOTERE'I. Due to Defendants' wrongful conduct, alleged
 2   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 3   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 4   suit against Defendants was tolled by such delayed discover.
 5          113.    Plaintiff SALLIE R. GORE underwent her chemotherapy treatment. On
 6   information and belief, McKesson Corporation distributed the TAXOTERE® that SALLIE R.
 7   GORE received.
 8          114.    Plaintiff SHELBY GRANT was diagnosed with breast cancer. Following her
 9   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff SHELBY
10   GRANT nor her treating healthcare providers were aware of or informed by Defendants that
11   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
12   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.• Following the
13   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
14   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
15   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
16   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file

17   suit against Defendants was tolled by such delayed discover.
18           115.    Plaintiff SHELBY GRANT underwent her chemotherapy treatment. On
19   information and belief, McKesson Corporation distributed the TAXOTERE® that SHELBY
20   GRANT received.
21           116.    Plaintiff AMELIA GREEN was diagnosed with breast cancer. Following her
22   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff AMELIA
23   GREEN nor her treating healthcare providers were aware of or informed by Defendants that
24   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
25   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
26   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
27   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
28   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,



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  1   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
  2   suit against Defendants was tolled by such delayed discover.
  3          117.    Plaintiff AMELIA GREEN underwent her chemotherapy treatment. On
  4   information and belief, McKesson Corporation distributed the TAXOTERE® that AMELIA
  5   GREEN received.
  6          118.    Plaintiff ROBYN GREER was diagnosed with breast cancer. Following her
  7   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ROBYN
  8   GREER nor her treating healthcare providers were aware of or informed by Defendants that
  9   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 10   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 11   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 12   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 13   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 14   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 15   suit against Defendants was tolled by such delayed discover.
 16          119.    Plaintiff ROBYN GREER underwent her chemotherapy treatment. On
 17   information and belief, McKesson Corporation distributed the TAXOTERE® that ROBYN
 18   GREER received.
 19          120.    Plaintiff CHARLOTTE GUNN was diagnosed with breast cancer. Following her
 20   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff CHARLOTTE
 21   GUNN nor her treating healthcare providers were aware of or informed by Defendants that
 22   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 23   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 24   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 25   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 26   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 27   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 28   suit against Defendants was tolled by such delayed discover.



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1           121.    Plaintiff CHARLOTTE GUNN underwent her chemotherapy treatment. On
 2    information and belief, McKesson Corporation distributed the TAXOTERE® that
 3    CHARLOTTE GUNN received.
 4           122.    Plaintiff TANYA GURNEY was diagnosed with breast cancer. Following her
 5    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff TANYA
 6    GURNEY nor her treating healthcare providers were aware of or informed by Defendants that
 7    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 8    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 9    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
11    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
12    including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
13    suit against Defendants was tolled by such delayed discover.
14           123.    Plaintiff TANYA GURNEY underwent her chemotherapy treatment. On

15    information and belief, McKesson Corporation distributed the TAXOTERE® that TANYA
 16   GURNEY received.
 17          124.    Plaintiff DORCILLE HADLEY was diagnosed with breast cancer. Following her

 18   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff DORCILLE
 19   HADLEY nor her treating healthcare providers were aware of or informed by Defendants that
 20   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 21   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 22   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 23   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 24   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 25   including, but not limited to, her development of alopecia. Accordingly, Plaintiff date to file
 26   suit against Defendants was tolled by such delayed discover.
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1          125.    Plaintiff DORCILLE HADLEY underwent her chemotherapy treatment. On
 2   information and belief, McKesson Corporation distributed the TAXOTERE® that DORCILLE
 3   HADLEY received.
 4          126.    Plaintiff GLENDA HAMNER was diagnosed with breast cancer. Following her
 5   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff GLENDA
 6   HAMNER nor her treating healthcare providers were aware of or informed by Defendants that
 7   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 8   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 9   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
11   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
12   including, but not limited-to, her development of alopecia. Accordingly, Plaintiff's date to file
13   suit against Defendants was tolled by such delayed discover.
14          127.    Plaintiff GLENDA HAMNER underwent her chemotherapy treatment. On
15   information and belief, McKesson Corporation distributed the TAXOTERE® that GLENDA
16   HAMNER received.
17          128.    Plaintiff BEVERLY HARCOURT was diagnosed with breast cancer. Following
18   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
19   BEVERLY HARCOURT nor her treating healthcare providers were aware of or informed by
20   Defendants that disfiguring permanent alopecia can occur following treatment with
21   TAXOTERE . Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
22   Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
23   loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
24   conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
25   to her injuries, including, but not limited to, her development of alopecia. Accordingly,
26   Plaintiff's date to file suit against Defendants was tolled by such delayed discover.
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                            COMPLAINT AND DEMAND FOR JURY TRIAL
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  1          129. Plaintiff BEVERLY HARCOURT underwent her chemotherapy treatment. On
  2   information and belief, McKesson Corporation distributed the TAXOTERE® that BEVERLY
  3   HARCOURT received.
  4          130. Plaintiff BETTY HAWKINS was diagnosed with breast cancer. Following her
  5   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff BETTY
  6   HAWKINS nor her treating healthcare providers were aware of or informed by Defendants that
  7   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
  8   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
  9   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 10   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 11   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 12   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 13   suit against Defendants was tolled by such delayed discover.
 14          131. Plaintiff BETTY HAWKINS underwent her chemotherapy treatment. On
 15   information and belief, McKesson Corporation distributed the TAXOTERE® that BETTY
 16   HAWKINS received.
 17          132. Plaintiff NANCY HEARNE was diagnosed with breast cancer. Following her
 18   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff NANCY
 19   HEARNE nor her treating healthcare providers were aware of or informed by Defendants that
 20   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 21   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 22   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 23   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 24   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 25   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 26   suit against Defendants was tolled by such delayed discover.
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 1          133.    Plaintiff NANCY HEARNE underwent her chemotherapy treatment. On
 2   information and belief, McKesson Corporation distributed the TAXOTERE® that NANCY
 3   HEARNE received.
 4          134.    Plaintiff ADELFA HEVENER was diagnosed with breast cancer. Following her
 5   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ADELFA
 6   HEVENER nor her treating healthcare providers were aware of or informed by Defendants that
 7   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 8   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 9   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
11   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
12   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's -date to file
13   suit against Defendants was tolled by such delayed discover.
14          135.    Plaintiff ADELFA HEVENER underwent her chemotherapy treatment. On
15   information and belief, McKesson Corporation distributed the TAXOTERE® that ADELFA
16   HEVENER received.
17          136.    Plaintiff MOVELL HOLLOWAY was diagnosed with breast cancer. Following
18   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff MOVELL
19   HOLLOWAY nor her treating healthcare providers were aware of or informed by Defendants
20   that disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
21   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
22   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
23   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
24   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
25   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
26   suit against Defendants was tolled by such delayed discover.
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                            COMPLAINT AND DEMAND FOR JURY TRIAL

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 1           137.    Plaintiff MOVELL HOLLOWAY underwent her chemotherapy treatment. On
 2    information and belief, McKesson Corporation distributed the TAXOTERE® that MOVELL
 3    HOLLOWAY received.
 4           138.    Plaintiff BENDETTA HOSNEY was diagnosed with breast cancer. Following
 5    her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
 6    BENDETTA HOSNEY nor her treating healthcare providers were aware of or informed by
 7    Defendants that disfiguring permanent alopecia can occur following treatment with
 8    TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE
 9    Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
10    loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
11    conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
12    to her injuries, including, but not limited to, her development of alopecia. Accordingly,
13    Plaintiff's date to file suit against Defendants was tolled by such delayed discover.
14            139.   Plaintiff BENDETTA HOSNEY underwent her chemotherapy treatment. On
15    information and belief, McKesson Corporation distributed the TAXOTERE® that BENDETTA
16    HOSNEY received.
17            140.   Plaintiff ANNIE L. JACKSON was diagnosed with breast cancer. Following her
18    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ANNIE L.
19    JACKSON nor her treating healthcare providers were aware of or informed by Defendants that
20    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
21    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
22    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
23    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
24    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 25   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 26   suit against Defendants was tolled by such delayed discover.
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                             COMPLAINT AND DEMAND FOR JURY TRIAL

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 1           141.    Plaintiff ANNIE L. JACKSON underwent her chemotherapy treatment. On
 2    information and belief, McKesson Corporation distributed the TAXOTERE® that ANNIE L.
 3    JACKSON received.
 4           142.    Plaintiff PEGGY JACKSON was diagnosed with breast cancer. Following her
 5    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff PEGGY
 6    JACKSON nor her treating healthcare providers were aware of or informed by Defendants that
 7    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 8    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 9    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10    of receiving chemotherapy with TAXOTERE®.
11           143.    Plaintiff PEGGY JACKSON underwent her chemotherapy treatment. On
12- - information and belief, McKesson Corporation distributed the TAXOTERE® that PEGGY
13    JACKSON received.
14           144.    Plaintiff WANDA JACKSON was diagnosed with breast cancer. Following her
15    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff WANDA
16    JACKSON nor her treating healthcare providers were aware of or informed by Defendants that
17    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
18    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
19    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
20    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
21    herein, Plaintiff did not fully ascertain that TAXOTERE/11 directly contributed to her injuries,
22    including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
23    suit against Defendants was tolled by such delayed discover.
24            145.   Plaintiff WANDA JACKSON underwent her chemotherapy treatment. On
25    information and belief, McKesson Corporation distributed the TAXOTERE® that WANDA
 26   JACKSON received.
 27           146.   Plaintiff ANITA JACOBS was diagnosed with breast cancer. Following her
 28   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ANITA



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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    JACOBS nor her treating healthcare providers were aware of or informed by Defendants that
 2    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 3    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 4    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
  5   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
  6   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  7   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
  8   suit against Defendants was tolled by such delayed discover.
  9          147.    Plaintiff ANITA JACOBS underwent her chemotherapy treatment. On
 10   information and belief, McKesson Corporation distributed the TAXOTERE® that ANITA
 11   JACOBS received.
 12          148.    Plaintiff ARLENE JEFFERSON THROWER was diagnosed with breast cancer.
 13   Following her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
 14   ARLENE JEFFERSON TIIROWER nor her treating healthcare providers were aware of or
 15   informed by Defendants that disfiguring permanent alopecia can occur following treatment with
 16   TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
 17   Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
 18   loss as a result of receiving chemotherapy with TAXOTERE®.
 19          149.    Plaimiff ARLENE JEFFERSON THROWER underwent her chemotherapy
 20   treatment. On information and belief, McKesson Corporation distributed the TAXOTERE® that
 21   ARLENE JEFFERSON THROWER received.
 22           150.   Plaintiff CASSANDRA JOHNSON was diagnosed with breast cancer. Following
 23   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
 24   CASSANDRA JOHNSON nor her treating healthcare providers were aware of or informed by
 25   Defendants that disfiguring permanent alopecia can occur following treatment with
 26   TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
 27   Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
 28   loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful



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  1   conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
  2   to her injuries, including, but not limited to, her development of alopecia. Accordingly,
  3   Plaintiffs date to file suit against Defendants was tolled by such delayed discover.
 4           151.    Plaintiff CASSANDRA JOHNSON underwent her chemotherapy treatment. On
  5   information and belief, McKesson Corporation distributed the TAXOTERE® that
 6    CASSANDRA JOHNSON received.
  7          152.    Plaintiff TANYA JOHNSON was diagnosed with breast cancer. Following her
 8    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff TANYA
  9   JOHNSON nor her treating healthcare providers were aware of or informed by Defendants that
 10   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 11   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 12   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 13   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 14   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 15   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 16   suit against Defendants was tolled by such delayed discover.
 17          153.    Plaintiff TANYA JOHNSON underwent her chemotherapy treatment. On
 18   information and belief, McKesson Corporation distributed the TAXOTERE® that TANYA
 19   JOHNSON received.
 20          154.    Plaintiff DEBORAH JOLLA was diagnosed with breast cancer. Following her
 21   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff DEBORAH
 22   JOLLA nor her treating healthcare providers were aware of or informed by Defendants that
 23   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 24   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 25   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 26   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 27   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
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                             COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 2    suit against Defendants was tolled by such delayed discover.
 3           155.    Plaintiff DEBORAH JOLLA underwent her chemotherapy treatment. On

 4    information and belief, McKesson Corporation distributed the TAXOTERE® that DEBORAH
 5    JOLLA received.
 6           156.    Plaintiff LILLIE JONES was diagnosed with breast cancer. Following her

 7    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff LILLIE
 8    JONES nor her treating healthcare providers were aware of or informed by Defendants that
 9    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
10    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
11    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
12    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged -
13    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
14    including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
15    suit against Defendants was tolled by such delayed discover.
16            157.    Plaintiff LILLIE JONES underwent her chemotherapy treatment. On information

17    and belief, McKesson Corporation distributed the TAXOTERE® that LILLIE JONES received.
18            158.    Plaintiff CLEDELL KEMP was diagnosed with breast cancer. Following her
 19   diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff CLEDELL
20    KEMP nor her treating healthcare providers were aware of or informed by Defendants that
 21   disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 22   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 23   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 24   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 25   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 26    including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file
 27    suit against Defendants was tolled by such delayed discover.
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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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 1           159.    Plaintiff CLEDELL KEMP underwent her chemotherapy treatment. On

 2    information and belief, McKesson Corporation distributed the TAXOTERE® that CLEDELL
 3    KEMP received. _
 4           160.    Plaintiff MARIE LACKEY was diagnosed with breast cancer. Following her

 5    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff MARIE
 6    LACKEY nor her treating healthcare providers were aware of or informed by Defendants that

 7    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.

 8    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the

 9    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
10    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged

11    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,

12    including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file

13    suit against Defendants was tolled by such delayed discover.
14            161.   Plaintiff MARIE LACKEY underwent her chemotherapy treatment. On

 15   information and belief, McKesson Corporation distributed the TAXOTERE® that MARIE

 16   LACKEY received.
 17           162.   Plaintiff ANGELA ANITA LAMB was diagnosed with breast cancer. Following

 18   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff ANGELA

 19   ANITA LAMB nor her treating healthcare providers were aware of or informed by Defendants

 20   that disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 21   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the

 22   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result

 23   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged

 24   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 25   including, but not limited to, her development of alopecia. Accordingly, Plaintiffs date to file

 26   suit against Defendants was tolled by such delayed discover.
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                              COMPLAINT AND DEMAND FOR JURY TRIAL

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  1           163.    Plaintiff ANGELA ANITA LAMB underwent her chemotherapy treatment. On
  2    information and belief, McKesson Corporation distributed the TAXOTERE® that ANGELA
  3    ANITA LAMB received.
  4           164.    Plaintiff GWEN LANCE was diagnosed with breast cancer. Following her
  5    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff GWEN
  6    LANCE nor her treating healthcare providers were aware of or informed by Defendants that
  7    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
  8    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
  9    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 10    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 11    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
 12    including; but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 13    suit against Defendants was tolled by such delayed discover.
 14           165.    Plaintiff GWEN LANCE underwent her chemotherapy treatment. On information
  15   and belief, McKesson Corporation distributed the TAXOTERE® that GWEN LANCE received.
 16           166.    Plaintiff RACINE LES f ER was diagnosed with breast cancer. Following her
 17    diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff RACINE
  18   LESTER nor her treating healthcare providers were aware of or informed by Defendants that
 19    disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 20    Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 21    completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 22    of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 23    herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  24   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
  25   suit against Defendants was tolled by such delayed discover.
  26           167.   Plaintiff RACINE LESTER underwent her chemotherapy treatment. On
  27   information and belief, McKesson Corporation distributed the TAXOTERE® that RACINE
  28   LESTER received.



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                              COMPLAINT AND DEMAND FOR JURY TRIAL

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 1           168.    Plaintiff SHAUNTEL MAXWELL was diagnosed with breast cancer. Following
 2    her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
 3    SHAUNTEL MAXWELL nor her treating healthcare providers were aware of or informed by
 4    Defendants that disfiguring permanent alopecia can occur following treatment with
 5    TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE
 6    Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
 7    loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
 8    conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
 9    to her injuries, including, but not limited to, her development of alopecia. Accordingly,
10    Plaintiffs date to file suit against Defendants was tolled by such delayed discover.
 11           169.   Plaintiff SHAUNTEL, MAXWELL underwent her chemotherapy treatment. On
 12   information and belief, McKesson Corporation distributed the TAXOTERE® that SHAUNTEL
 13   MAXWELL received.
 14           170.   Plaintiff FELICIA MCCLINTON was diagnosed with breast cancer. Following

 15   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff FELICIA
 16   MCCLINTON nor her treating healthcare providers were aware of or informed by Defendants
 17   that disfiguring permanent alopecia can occur following treatment with TAXOTERE®.
 18   Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 19   completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
 20   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
-21   herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,

 22   including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
 23   suit against Defendants was tolled by such delayed discover.
 24           171.    Plaintiff FELICIA MCCLINTON underwent her chemotherapy treatment. On

 25   information and belief, McKesson Corporation distributed the TAXOTERE® that FELICIA
 26   MCCLINTON received.
 27           172.    Plaintiff BRITTANY .1. MEECE was diagnosed with breast cancer. Following

 28   her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff



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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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      BRITTANY J. MEECE nor her treating healthcare providers were aware of or informed by
      Defendants that disfiguring permanent alopecia can occur following treatment with
      TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
      Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
      loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
      conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
      to her injuries, including, but not limited to, her development of alopecia. Accordingly,
      Plaintiffs date to file suit against Defendants was tolled by such delayed discover.
             173.    Plaintiff BRITTANY J. MEECE underwent her chemotherapy treatment. On
      information and belief, McKesson Corporation distributed the TAXOTERE® that BRITTANY
      J. MEECE received.
             174.    Plaintiff KIMBERLY MENDOZA was diagnosed with-breast cancer. Following
      her diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff
      KIMBERLY MENDOZA nor her treating healthcare providers were aware of or informed by
      Defendants that disfiguring permanent alopecia can occur following treatment with
      TAXOTERE®. Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®.
      Following the completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair
      loss as a result of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful
      conduct, alleged herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed
      to her injuries, including, but not limited to, her development of alopecia. Accordingly,
      Plaintiffs date to file suit against Defendants was tolled by such delayed discover.
              175.   Plaintiff KIMBERLY MENDOZA underwent her chemotherapy treatment. On
      information and belief, McKesson Corporation distributed the TAXOTERE® that KIMBERLY
      MENDOZA received.
              176.   Plaintiff DEBORAH MEYERS was diagnosed with breast cancer. Following her
      diagnosis, Plaintiff met with her oncologist to discuss treatment. Neither Plaintiff DEBORAH
      MEYERS nor her treating healthcare providers were aware of or informed by Defendants that
      disfiguring permanent alopecia can occur following treatment with TAXOTERE®.



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                             COMPLAINT AND DEMAND FOR JURY TRIAL

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 1     Accordingly, Plaintiff underwent chemotherapy that included TAXOTERE®. Following the
 2     completion of chemotherapy, Plaintiff suffered from disfiguring permanent hair loss as a result
  3_   of receiving chemotherapy with TAXOTERE®. Due to Defendants' wrongful conduct, alleged
 4     herein, Plaintiff did not fully ascertain that TAXOTERE® directly contributed to her injuries,
  5    including, but not limited to, her development of alopecia. Accordingly, Plaintiff's date to file
  6    suit against Defendants was tolled by such delayed discover.
  7           177.    Plaintiff DEBORAH MEYERS underwent her chemotherapy treatment. On
  8    information and belief, McKesson Corporation distributed the TAXOTERE® that DEBORAH
  9    MEYERS received.
 10
 11                                      NATURE OF THE CLAIMS
 12           178.    Despite the fact that Defendants disclosed risks associated with TAXOTERE®
 13    and permanent alopecia to patients and regulatory agencies in other countries, Defendants failed
 14    to either alert Plaintiffs, the public, and the scientific community in the United States or perform
 15    further investigation into the safety of TAXOTERE® regarding the side effect of disfiguring
 16    permanent alopecia. Defendants failed to update the warnings for TAXOTERE®, and they failed
 17    to disclose the results of additional studies as Defendants learned new facts regarding the defects
 18    and risks of their product.
 19            179.   In particular, Defendants:
 20                   (a)     failed to disclose their investigation and research from 2005, including but
 21                           not limited to the results of the GEICAM 9805 study, and failed to further
 22                           investigate, research, study, and define fully and adequately the safety
 23                           profile of TAXOTERE® in response to these studies;
 24                   (b)     failed to provide adequate warnings about the true safety risks associated
 25                           with the use of TAXOTERE®;
 26                    (c)    failed to provide adequate warning regarding the pharmacokinetic and
 27                           pharmacodynamic variability of TAXOTERE® and its effects on the
 28                           degree or severity of side effects related to permanent alopecia;



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                              COMPLAINT AND DEMAND FOR JURY TRIAL
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  1                 (d)     failed to disclose in the "Warnings" Section that permanent alopecia is a
  2                         frequent side effect associated with the use of TAXOTERE
  3                 (e)     failed to advise prescribing physicians, such as Plaintiffs' physicians, to
  4                         instruct patients that permanent alopecia was a side effect, much less a
  5                         frequent side effect, linked to TAXOTERE®;
  6                 (f)     failed to provide adequate instructions on how to intervene and/or reduce
  7                         the risk of permanent alopecia related to the use of TAXOTERE®;
  8                  (g)    failed to provide adequate warnings and information related to the
  9                         increased risks of permanent alopecia in certain genome groups;
 10                  (h)    failed to provide adequate warnings regarding the increased risk of
 11                         permanent alopecia with the use of TAXOTEREC) as compared to other
 12                         products intended to treat the same conditions as TAXOTERE®; and
 13                  (i)    failed to include a "BOXED WARNING" related to permanent or
 14                         persistent alopecia.
 15          180.    During the years since first marketing TAXOTERE® in the U.S., Defendants
 16   modified the U.S. labeling and prescribing information for TAXOTERE® on multiple
 17   occasions. Defendants failed, however, to include any warning whatsoever related to permanent
 18   alopecia despite Defendants' awareness of the frequency and severity of this side effect.
 19          181.    Before applying for and obtaining approval of TAXOTERE®, Defendants knew
 20   or should have known that consumption of TAXOTERE® was associated with and/or would
 21   cause disfiguring side effects including disfiguring permanent alopecia.
 22          182.    Despite knowing that TAXOTERE® was likely to result in increased rates of
 23   alopecia and disfiguring permanent alopecia, Defendants produced, marketed, and distributed
 24   TAXOTERE® in the United States.
 25          183.    Defendants failed to adequately conduct complete and proper testing of
 26   TAXOTERE® prior to filing their New Drug Application for TAXOTERE®.
 27          184.    From the date Defendants received FDA approval to market TAXOTERE®,
 28   Defendants made, distributed, marketed, and sold TAXOTERE® without adequate warning to



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  1    Plaintiffs or Plaintiffs' prescribing physicians that TAXOTERE® was associated with
  2    disfiguring permanent alopecia.
  3           185.    Defendants ignored the association between the use of TAXOTERE® and the
  4    risk of disfiguring permanent alopecia.
  5           186.    Defendants failed to disclose information that they possessed regarding their
  6    failure to adequately test and study TAXOTERE® related to the side effect of disfiguring
  7    permanent alopecia. Plaintiffs and their healthcare providers could not have discovered
  8    Defendants' false representations and failures to disclose information through the exercise of
  9    reasonable diligence.
 10           187.    As a result of the foregoing acts and omissions, Defendants caused Plaintiffs to
 11    suffer serious and dangerous side effects, severe and personal injuries that are permanent and
 12    lasting in nature, and economic and non-economic damages,. harms, and losses, including but not
 13    limited to: past and future medical expenses; past and future loss of earnings; past and future
  14   loss and impairment of earning capacity; permanent disfigurement including permanent
  15   alopecia; mental anguish; severe and debilitating emotional distress; increased risk of future
  16   harm; past, present, and future physical and mental pain, suffering, and discomfort; and past,
  17   present, and future loss and impairment of the quality and enjoyment of life.
  18                           ESTOPPEL FROM PLEADING STATUTES OF
                                     LIMITATIONS OR REPOSE
  19
  20           188.   Plaintiffs incorporate by reference the averments of the preceding paragraphs of
  21   the Complaint as if fully set forth at length herein.
  22           189.    Plaintiffs are within the applicable statutes of limitations for the claims presented
  23   herein because Plaintiffs did not discover the defects and unreasonably dangerous condition of
  24   Defendants' TAXOTERE® and the risks associated with its use in the form of disfiguring
  25   permanent alopecia, and could not reasonably have discovered the defects and unreasonably
  26   dangerous condition of Defendants' TAXOTERE® and the risks associated with its use, due to
  27   the Defendants' failure to warn, suppression of important information about the risks of the
  28   drug, including but not limited to the true risk benefit profile, and the risk of disfiguring



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  1   permanent alopecia and damages known by Defendants to result from the use of TAXOTERE®,
  2   and other acts and omissions.
  3          190.    In addition, Defendants are estopped from relying on any statutes of limitations or
  4   repose by virtue of their acts of Concealment, affirmative misrepresentations and omissions,
  5   which include Defendants' intentional concealment from Plaintiffs, Plaintiffs' prescribing health
  6   care professionals and the general consuming public that Defendants' TAXOTERE® was
  7   defective, unreasonably dangerous and carried with it the serious risk of developing the injuries
  8   Plaintiffs have suffered while aggressively and continually marketing and promoting
  9   TAXOTERE® as safe and effective. This includes, but is not limited to, Defendants' failure to
 10   disclose and warn of the risk of disfiguring permanent alopecia and injuries known by
 11   Defendants to result from use of TAXOTERE®, for example, and not by way of limitation,
 12   internal concern about reports and studies finding an increased risk of disfiguring permanent -
 13   alopecia; suppression of information about these risks and injuries from physicians and patients,
 14   including Plaintiffs; use of sales and marketing documents and information that contained
 15   information contrary to the internally held knowledge regarding the aforesaid risks and injuries;
 16   and overstatement of the efficacy and safety of TAXOTERE®.
 17          191.    Defendants had a duty to disclose that TAXOTERE® was defective,
 18   unreasonably dangerous and that the use of Defendants' TAXOTERE® carried with it the
 19   serious risk of developing disfiguring permanent alopecia as the Plaintiffs have suffered.
 20   Defendants breached that duty.
 21      -   192. Plaintiffs, Plaintiffs' prescribing health care professionals and the general
 22   consuming public, had no knowledge of, and no reasonable way of discovering, the defects
 23   found in Defendants' TAXOTERE® or the true risks associated with their use at the time she
 24   purchased and used Defendants' TAXOTERE®.
 25           193. Defendants did not notify, inform, or disclose to Plaintiffs, Plaintiffs' prescribing
 26   health care professionals or the general consuming public that Defendants' TAXOTERE® was
 27   defective and that its use carried with it the serious risk of developing the injuries Plaintiffs have
 28   suffered and complained of herein.



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  1           194.    Because Defendants failed in their duty to notify Plaintiffs, Plaintiffs' prescribing
  2    health care professionals and the general consuming public that their TAXOTERE® was
  3    defective and, further, actively attempted to conceal this fact, Defendants should be estopped
  4    from asserting defenses based on statutes of limitation or repose.
  5           195.    Accordingly, Plaintiffs file this lawsuit within the applicable statutes of
  6    limitations. Plaintiffs could not by exercise of reasonable diligence have discovered any
  7    wrongdoing, nor could she have discovered the causes of their injuries at an earlier time, and
  8    when Plaintiffs' injuries were discovered, their causes were not immediately known or knowable
  9    based on the lack of necessary information, which was suppressed by the Defendants. Further,
 10    the relationship of Plaintiffs' injuries to TAXOTERE® exposure through the Defendants' drug
 11    was inherently difficult to discover, in part due to the Defendants' knowing suppression of
 12    important safety information. Consequently, the discovery rule should be applied to toll the
 13    running of the statutes of limitations until Plaintiffs discovered, or by the exercise of reasonable
 14    diligence should have discovered, that Plaintiffs may have a basis for an actionable claim.
 15           196.    After Defendants changed the TAXOTERE® prescription information in the

 16    United States to include information about permanent alopecia in December 2015, there ensued
  17   publicity and advertising related to permanent alopecia caused by TAXOTERE®. Plaintiffs, as a
  18   result of the publicity and advertising, became aware of the failure to warn about permanent

  19   alopecia by Sanofi, and the availability of an equally efficacious and less toxic alternative drug.
  20   Plaintiffs acted with all reasonable diligence and speed upon discovering this information and
  21   timely files the present complaint.
  22
  23                                     FIRST CLAIM FOR RELIEF
  24                     (Product Liability for Negligence — Against All Defendants)

  25           197.    Plaintiffs repeat, reiterate, and reallege all paragraphs of this Complaint, with the

  26   same force and effect as if fully set forth herein.

  27           198.    Defendants had a duty to exercise reasonable care in the marketing, supplying,

  28   promoting, packaging, sale, and/or distribution of TAXOTERE® into the stream of commerce,



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  1    including a duty to assure that the product would not cause users to suffer unreasonable,
  2    dangerous side effects.
  3.          199.    Defendants failed to exercise reasonable care in the marketing, supplying,
  4    promoting, packaging, sale, and/or distribution of TAXOTERE® into interstate commerce in
  5    that Defendants knew or should have known that using TAXOTEREO created a high risk of
  6    unreasonable, disfiguring side effects, including personal injuries that are permanent and lasting
  7    in nature such as disfiguring permanent alopecia, mental anguish, and diminished enjoyment of
  8    life, economic loss, and loss of economic opportunity.
   9          200.    The negligence of Defendants, their agents, servants, and/or employees, included
  10   but was not limited to the following acts and/or omissions:
  11                  (a)     Selling TAXOTERE® without disclosing its dangers and risks;
  12                  (b)     Negligently failing to adequately and correctly warn Plaintiffs, Plaintiffs'
  13                          physicians, the public, and the medical and healthcare profession of the
  14                          dangers of TAXOTERE®;
  15                  (c)     Failing to provide adequate instructions regarding safety precautions to be
  16                          observed by users, handlers, and persons who would reasonably and
  17                             foreseeably come into contact with, and more particularly, use,
  18                             TAXOTERE®;
  19                             Negligently advertising and recommending the use of TAXOTERE®
  20                             without sufficient knowledge as to its dangerous propensities;
  21                             Negligently representing that TAXOTERE® was safe for use for its
  22                             intended purpose, when, in fact, it was unsafe;
  23                             Negligently and falsely representing that TAXOTERE® was superior to
  24                             other commercially available products to treat the same forms of cancer
  25                             that TAXOTERE® was intended to treat;
  26                  (g)        Concealing information from Plaintiffs, Plaintiffs' physicians, the public,
  27                             and the FDA in knowing that TAXOTERE® was unsafe, dangerous,
  28                             and/or non-conforming with FDA regulations; and



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 1                  (h)     Improperly concealing from and/or misrepresenting information to
 2                          Plaintiffs, Plaintiffs' physicians, other healthcare professionals, and/or the
 3                          FDA concerning the severity of risks and dangers of TAXOTERE®
 4                          compared to other forms of treatment for breast cancer.
 5           201.   Defendants underreported, underestimated and downplayed the serious dangers
 6    and risk associated with TAXOTERE®.
 7           202.   Defendants negligently conveyed that the safety risks and/or dangers of
 8    TAXOTERE® were comparable with other forms of treatment for the same conditions for
 9    which TAXOTERE® was prescribed to treat.
 10          203.   Defendants were negligent in the researching, supplying, promoting, packaging,
 11   distributing, testing, advertising, warning, marketing, and selling of TAXOTERE® in that they:
 12                 (a)     Failed to accompany their product with proper and/or accurate warnings
 13                         regarding all possible adverse side effects associated with the use of
 14                         TAXOTERE®;
 15                 (b)     Failed to accompany their product with proper warnings regarding all
 16                         possible adverse side effects concerning the risks and dangers associated
 17                         with TAXOTERE®;
 18                         Failed to accompany their product with accurate warnings regarding the

 19                         risks of all possible adverse side effects concerning TAXOTERE®;
 20                         Failed to warn Plaintiffs and Plaintiffs' physicians of the severity and
 21                         duration of such adverse effects, as the warnings given did not accurately
 22                         reflect the symptoms, or severity, of the side effects;
 23                         Failed to conduct adequate post-marketing surveillance, to determine the
 24                         safety, dangers, and risks associated with TAXOTERE®.
 25                         Failed to warn Plaintiffs and Plaintiffs' physicians before actively
 26                         encouraging the sale of TAXOTERE®, either directly or indirectly, orally
 27                         or in writing, about the need for more comprehensive and regular medical
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  1                             monitoring than usual to ensure early discovery of potentially serious side
  2                             effects; and
  3                   (g)       Were otherwise careless and/or negligent
  4           204.    Despite the fact that Defendants knew or should have known that TAXOTERE®
  5    caused unreasonably dangerous side effects, namely the serious risk of developing disfiguring
  6    permanent alopecia, Defendants continued and continue to market, manufacture, distribute,
  7    and/or sell TAXOTERE® to consumers, including Plaintiffs.
   8           205.   Defendants negligently and improperly failed to perform sufficient post-market
  9    tests and surveillance, forcing Plaintiffs, Plaintiffs' physicians, and hospital to rely on safety
  10   information that did not accurately represent the risks and benefits associated with the use of
  11   TAXOTERE® as compared to other products already commercially available to treat the same
  12   types of cancer TAXOTERE® was meant to treat.
  13           206.   Defendants knew or should have known that consumers such as Plaintiffs would
  14   use their product and would foreseeably suffer injury as a result of Defendants' failure to
  15   exercise reasonable care, as set forth above.
  16           207.    Defendants' negligence was the proximate cause of Plaintiffs' injuries, harms,
  17   damages, and losses.
  18           208.    As a direct and proximate result of the use of TAXOTERE®, Plaintiffs
  19   experienced disfiguring permanent alopecia.
  20           209.    As a result of the foregoing acts and omissions, Defendants caused Plaintiffs to
  21   suffer serious and dangerous side effects, severe and personal injuries that are permanent and
  22   lasting in nature, and economic and non-economic damages, harms, and losses, including but not
  23   limited to: past and future medical expenses., psychological counseling and therapy expenses;
  24   past and future loss of earnings; past and future loss and impairment of earning capacity;
  25   permanent disfigurement including permanent alopecia; mental anguish; severe and debilitating
  26   emotional distress; increased risk of future harm; past, present, and future physical and mental
  27   pain, suffering, and discomfort; and past, present, and future loss and impairment of the quality
  28   and enjoyment of life.



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  1                                    SECOND CLAIM FOR RELIEF
  2                (Strict Products Liability — Failure to Warn — Against All Defendants)

  3            210.   Plaintiffs repeat, reiterate, and reallege all paragraphs of this Complaint, with the

  4    same force and effect as if fully set forth herein.

  5            211.    The TAXOTERE® that Defendants sold, marketed, distributed, supplied and

  6    placed into the stream of commerce was defective in that it failed to include adequate warnings

   7   regarding all adverse side effects associated with the use of TAXOTERE®. The warnings given
       by Defendants did not sufficiently and/or accurately reflect the symptoms, type, scope, severity,

  8    or duration of the side effects and, in particular, the risks of disfiguring permanent alopecia.

  10           212.    Winthrop U.S. is a business unit or division operating of Sanofi. As the holder for

  11   the Reference Listed Drug ("RLD") of brand-name TAXOTERE®, the Sanofi Defendants

  12   supplied the labeling for Winthrop U.S.ls generic version of TAXOTERE®. All of the labeling

  13   for the generic version was also defective because it failed to adequately warn of the risk of

  14   disfiguring permanent alopecia.

  15           213.    Defendants failed to provide adequate warnings to physicians and users,

  16   including Plaintiffs' physicians and Plaintiffs, Of the increased risk of disfiguring permanent

  17   alopecia associated with TAXOTERE®, and Defendants aggressively and fraudulently

  18   promoted the product to physicians.

  19           214.    As a direct and proximate result of Defendants' failure to warn of the potentially

  20   severe adverse effects of TAXOTERE®, Plaintiffs suffered disfiguring permanent alopecia and

  21 - other conditions.
  22           215.    As a result of the foregoing acts and omissions, Defendants caused Plaintiffs to

  23   suffer serious and dangerous side effects, severe and personal injuries that are permanent and

  24   lasting in nature, and economic and non-economic damages, harms, and losses, including but not

  25   limited to: past and future medical expenses; past and future loss of earnings; past and future

  26   loss and impairment of earning capacity; permanent disfigurement including permanent

  27   alopecia; mental anguish; severe and debilitating emotional distress; increased risk of future

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  1    harm; past, present, and future physical and mental pain, suffering, and discomfort; and past,
  2    present, and future loss and impairment of the quality and enjoyment of life.
  3                                      THIRD CLAIM FOR RELIEF
  4                                      (Intentional Misrepresentation)

  5              216.   Plaintiffs repeat, reiterate, and reallege all paragraphs of this Complaint, with the

  6    same force and effect as if fully set forth herein.

   7             217.   Defendants falsely and fraudulently represented to Plaintiffs, Plaintiffs'

  8    physicians, the medical and healthcare community, and the public in general that TAXOTERE®

  9    had been tested and was found to be safe and effective for the treatment of certain forms of

  10   cancer.

  11             218.   When warning of safety and risks of TAXOTERE®, Defendants fraudulently

  12   represented to Plaintiffs, Plaintiffs' physicians, the medical and healthcare-community, and the

  13   public in general that TAXOTERE® had been tested and was found to be safe and/or effective

  14   for its indicated use.

  15             219.   Defendants concealed their knowledge of TAXOTERE®'s defects from

  16   Plaintiffs, Plaintiffs' physicians, and the public in general and/or the medical community

  17   specifically including, but not limited to, concealing their knowledge of the risk of developing

  18   disfiguring permanent alopecia.

  19             220.   Defendants concealed their knowledge of the defects in their products from

  20   Plaintiffs, Plaintiffs' physicians, hospitals, pharmacists, and the public in general.

  21             221.   Defendants made these false representations with the intent of defrauding and

  22   deceiving Plaintiffs, Plaintiffs' physicians, the public in general, and the medical and healthcare

  23   community in particular, and were made with the intent of inducing Plaintiffs, Plaintiffs'

  24   physicians, the public in general, and the medical community in particular, to recommend,

  25   dispense, and/or purchase TAXOTERE® for use in the treatments of various forms of cancer,

  26   including but not limited to breast cancer, all of which evidenced a callous, reckless, willful,

  27   wanton, and depraved indifference to the health, safety, and welfare of Plaintiffs.

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  1          222.      Defendants made these false representations with the intent of defrauding and
  2   deceiving Plaintiffs, Plaintiffs' physicians, as well as the public in general, and the medical and
  3   healthcare community in particular, and were made with the intent of inducing the public in
  4   general, and the medical community in particular, to recommend, dispense, and/or purchase
  5   TAXOTERE® for use in the treatments of various forms of cancer, including but not limited to
  6   breast cancer.
  7           223.     When Defendants made these representations, Defendants knew those
  S   representations were false, and Defendants willfully, wantonly, and recklessly disregarded
  9   whether the representations were true.
 10           224.     At the time Defendants made the aforesaid representations, and, at the time
 11   Plaintiffs used TAXOTERE®, Plaintiffs and Plaintiffs' physicians were unaware of the falsity of
 12   Defendants' representations, and Plaintiffs and Plaintiffs' physicians reasonably believed them
 13   to be true.
 14           225.     In reliance upon Defendants' representations, Plaintiffs and Plaintiffs' physicians
 15   were induced to and did use and prescribe TAXOTEREID, which caused Plaintiffs to sustain
 16   severe, permanent, and disfiguring personal injuries.
 17           226.     Defendants knew and were aware or should have been aware that lacked adequate
 18   and/or sufficient warnings.
 19           227.     Defendants knew or should have known that TAXOTERE® had a potential to,
 20   could, and would cause severe and grievous injury to the users of TAXOTERE®, including, but
 21   not limited to, the development of permanent disfiguring alopecia, and that TAXOTERE® was
 22   inherently dangerous in a manner that exceeded any purported, inaccurate, and/or down-played
 23   warnings.
 24           228.     Defendants acted fraudulently, wantonly, and maliciously to the detriment of
 25   Plaintiffs.
 26           229.     As a result of the foregoing acts and omissions, Defendants caused Plaintiffs to
 27   suffer serious and dangerous side effects, severe and personal injuries that are permanent and
 28   lasting in nature, and economic and non-economic damages, harms, and losses, including but not



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  1    limited to: past and future medical expenses; past and future loss of earnings; past and future
  2    loss and impairment of earning capacity; permanent disfigurement including permanent
  3    alopecia; mental anguish; severe and debilitating emotional distress; increased risk of future
  4    harm; past, present, and future physical and mental pain, suffering, and discomfort; and past,
  5    present, and future loss and impairment of the quality and enjoyment of life.
  6                                    FOURTH CLAIM FOR RELIEF
  7                               (Concealment — Against Sanofi Defendants)

  8            230.    Plaintiffs repeat, reiterate, and reallege all paragraphs of this Complaint, with the

  9    same force and effect as if fully set forth herein.

 10            231.    At all times during the course of dealing between Sanofi Defendants and

 11    Plaintiffs and Plaintiffs' healthcare providers, Defendants misrepresented the effectiveness and

 12    safety of TAXOTERE® for its intended use.

 13            232.    Sanofi Defendants knew or were reckless in not knowing that its representations

 14    were false.

 15            233.    In representations made to Plaintiffs and Plaintiffs' healthcare providers, Sanofi

  16   Defendants fraudulently concealed and intentionally omitted the following material information:

 17                    (a)     that TAXOTERE® was not as safe as other forms of treatment for which

 18                            TAXOTERE® was marketed and sold to cancer patients;

 19                    (b)     that the risks of adverse events with TAXOTERE® were higher than

 20                            those with other forms of treatment for which TAXOTERE® was

 21                            marketed and sold to cancer patients;

 22                    (c)     that the risks of adverse events with TAXOTERE® were not adequately

 23                            tested and/or known by Defendants;

  24                   (d)     that Defendants were aware of dangers in TAXOTERE®, in addition to

  25                           and above and beyond those associated with other forms of treatment for

  26                           cancer patients;

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  1                   (e)     that TAXOTERE® was defective in that it caused dangerous side effects
  2                           as well as other severe and permanent health consequences in a much
  3                           more and significant rate than other forms of treatment for cancer patients;
  4           234.    Sanofi Defendants had a duty to disclose to Plaintiffs, Plaintiffs' physicians,
  5    hospitals, and/or healthcare providers the defective nature of TAXOTERE®, including but not
  6    limited to the heightened risks of disfiguring permanent alopecia.
  7           235.    Sanofi Defendants had sole access to material facts concerning the defective
  8    nature of TAXOTERE® and its propensity to cause serious and dangerous side effects,
  9    including, but not limited to, disfiguring permanent alopecia, and therefore cause damage to
 10    persons who used TAXOTEREiI, including Plaintiffs, in particular.
 11           236.    Sanofi Defendants' concealment and omissions of material facts concerning the
 12    safety of TAXOTERE® was made purposefully, willfully, wantonly, and/or recklessly to
 13    mislead Plaintiffs, Plaintiffs' physicians, hospitals, and healthcare providers into reliance on the
 14    continued use of TAXOTERE® and to cause them to purchase, prescribe, and/or dispense
 15    TAXOTERE® and/or use TAXOTERE 0
 16           237.    Sanofi Defendants knew that Plaintiffs, Plaintiffs' physicians, hospitals, and/or
 17    healthcare providers had no way to determine the truth behind Defendants' concealment and
 18    omissions, including the material omissions of facts surrounding TAXOTERE® set forth herein.
  19          238.    Plaintiffs, Plaintiffs' physicians, healthcare providers, and/or hospitals reasonably
 20    relied on information revealed by Sanofi Defendants that negligently, fraudulently, and/or
  21   purposefully did not include facts that were concealed and/or omitted by Defendants.
  22           239.   As a result of the foregoing acts and omissions, Sanofi Defendants caused
  23   Plaintiffs to suffer serious and dangerous side effects, severe and personal injuries that are
  24   permanent and lasting in nature, and economic and non-economic damages, harms, and losses,
  25   including but not limited to: past and future medical expenses; past and future loss of earnings;
  26   past and future loss and impairment of earning capacity; permanent disfigurement including
  27   permanent alopecia; mental anguish; severe and debilitating emotional distress; increased risk of
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  1    future harm; past, present, and future physical and mental pain, suffering, and discomfort; and
  2    past, present, and future loss and impairment of the quality and enjoyment of life.
  3                                      FIFTH CLAIM FOR RELIEF
  4                        (Negligent Misrepresentation — Against All Defendants)

  5            240.    Plaintiffs repeat, reiterate, and re-allege all paragraphs of this Complaint, with the

  6    same force and effect as if fully set forth herein.

  7            241.    Defendants sold the TAXOTERE® that Plaintiff's physician prescribed for

  8    Plaintiffs and that Plaintiffs used.

   9           242.    Defendants were engaged in the business of selling the TAXOTERE® for resale,

  10   use, or consumption.

  11           243.    Defendants misrepresented facts as set forth herein concerning the character or

  12   quality of the TAXOTERE® that would be material to potential prescribers and purchasers or

  13   users of the product.

  14           244_ Defendants' misrepresentations were made to potential prescribers and/or

  15   purchasers or users as members of the public at large.

  16           245.    As a purchasers or users, Plaintiffs reasonably relied on the misrepresentation.

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  18                                      SIXTH CLAIM FOR RELIEF
                          (Extreme and Outrageous Conduct / Intentional Infliction
  19
                               of Emotional Distress — Against All Defendants)
  20
               246.    Plaintiffs repeat, reiterate, and reallege all paragraphs of this Complaint, with the
  21
       same force and effect as if fully set forth herein.
  22
               247.    Defendants' conduct, as set forth above, was extreme and outrageous.
  23
               248.    Defendants' actions were done recklessly or with the intent of causing Plaintiff
  24
       severe emotional distress; and
  25
               249.    Defendants' conduct caused Plaintiffs severe emotional distress.
  26
               250.    As a result of the foregoing acts and omissions, Defendants caused Plaintiffs to
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       suffer serious and dangerous side effects, severe and personal injuries that are permanent and
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                               COMPLAINT AND DEMAND FOR JURY TRIAL
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       lasting in nature, and economic and non-economic damages, harms, and losses, including but not
  I    limited to: past and future medical expenses; past and future loss of earnings; past and future
  3    loss and impairment of earning capacity; permanent disfigurement including permanent
  4    alopecia; mental anguish; severe and debilitating emotional distress; increased risk of future
  5    harm; past, present, and future physical and mental pain, suffering, and discomfort; and past,
  6    present, and future loss and impairment of the quality and enjoyment of life.
   7
   8                                  SEVENTH CLAIM FOR RELIEF
   9                                         (Loss of Consortium)
  10
  11          251.    Spouse plaintiffs complain of defendants, and each of them and for a cause of
  12   action for loss of consortium allege as follow:
  13          252.    Spouse Plaintiffs hereby incorporate by reference all previous paragraphs of this
  14   Complaint as if fully set forth herein and further allege as follows:
  15          253.     This cause of action is asserted by the Spouse Plaintiffs identified previously
  16   whose spouses suffered personal injuries as a result of using Defendants product, who at all
  17   times relevant to this action were, and are now, husband and wife.
  18          254.     Subsequent to their injuries, Plaintiffs' were and are unable to perform the
  19   necessary duties as a spouse and the work service usually performed in the care, maintenance
  20   and management of the family home.
  21           255.    Spouse Plaintiffs were unaware that Plaintiffs' injuries were caused by
  22   TAXOTERE® until within two years of filing this Complaint.
  23           256.    By reason of the injuries sustained by their spouses, the Spouse Plaintiffs have
  24   been and will continue to be deprived of the loss of love, companionship, comfort, care,
  25   assistance, protection, affection, society, and moral support of their spouses, as to their damage,
  26   in an amount presently unknown but which will be proved at the time of trial.
  27           WHEREFORE, said Spouse Plaintiffs pray for judgment against Defendants as
  28   hereinafter set forth.



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   2                                         PRAYER FOR RELIEF
   3          WHEREFORE, all California Plaintiffs demand judgment against Defendants SANOFI
   4   U.S. SERVICES INC., formerly known as SANOFI U.S. SERVICES INC., formerly known as
   5   SANOFI-AVENTIS U.S. INC, SANOFI-AVENTIS U.S. LLC, separately and doing business as
   6   WINTHROP U.S., SANDOZ, INC., McKESSON CORPORATION doing business as
   7   McKESSON PACKAGING, HOSPIRA, INC., HOSPIRA WORLDWIDE, LLC f/k/a HOSPIRA
   8   WORLDWIDE, INC., SANDOZ, INC., and ACCORD HEALTHCARE, INC. All non-
   9   California plaintiffs demand judgment against Defendant McKESSON CORPORATION doing
  10   business as McKESSON PACKAGING. The extreme and outrageous conduct of the Defendants
  11   was done with conscious disregard for causing Plaintiffs to suffer injury, justifying an award of
  12   exemplary and punitive damages in an amount to be determined at trial by the trier of fact for her
  13   injuries, harms, damages, and losses as set forth above. Plaintiffs also seek special damages,
  14   costs, expert witness fees, attorneys' fees, filing fees, pre- and post-judgment interest, all other
  15   injuries and damages as shall be proven at trial, and such other further relief as the Court may
  16   deem appropriate, just, and proper.
  17                                             JURY DEMAND
  18           Plaintiff demands a trial by jury on all issues so triable.
  19
  20   DATED: December 12, 2017                        Respectfully submitted,
  21                                                   NAPOLI SHKOLNIK, PLLC
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                                                       J rifer iakos
  25                                                   Attorney for Plaintiffs'

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